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                          501 H Street NE, Suite 275                   Director, Supreme Court & Appellate Program
                          Washington, DC 20002
                                                                       devi.rao@macarthurjustice.org
                          macarthurjusticecenter.org                   O 202 869 3434
                                                                       F 202 869 3435




June 20, 2024

FILED VIA ECF
Christopher M. Wolpert
Clerk of the Court
United States Court of Appeals for the Tenth Circuit
Byron White Court House
1823 Stout Street
Denver, CO 80257

Re:      Letter pursuant to FRAP 28(j) in Griffith v. El Paso County, et al., No. 23-1135 (argued
         March 19, 2024)

Dear Mr. Wolpert,

        Pursuant to FRAP 28(j), Plaintiff-Appellant Darlene Griffith notifies the Court of post-
argument authority relevant to the disposition of the Equal Protection claim in this case: Fowler v.
Stitt, No. 23-5080 (10th Cir. June 18, 2024).

        In Fowler, this Court reversed the district court’s dismissal of an Equal Protection claim
brought by three transgender individuals challenging Oklahoma’s policy of denying sex-
designation amendments on birth certificates. Slip Op. at 3-4. The Court concluded that the policy
discriminated on the basis of transgender status and sex, and that it could not withstand even
rational basis review, let alone intermediate scrutiny. Id. at 22.

         Relevant to Ms. Griffith’s case, the Court in Fowler held that, based on the Supreme
Court’s reasoning in Bostock v. Clayton County, 590 U.S. 644 (2020), because the policy
discriminated based on transgender status, it necessarily discriminated on sex. Id. at 32; see also
id. at 42 (collecting cases holding same). Ms. Griffith advanced this same position in her briefing,
as did the United States in its amicus brief and at oral argument, which Defendants did not dispute.
See Op. Br. 27-28; U.S. Br. 10-11; Reply Br. 7; Oral Arg. 17:13-17:45. Fowler mandates reversal
on Ms. Griffiths’ Equal Protection claim because the County’s policy of housing transgender
women solely on the basis of their biological sex discriminates on the basis of sex, and is subject
to intermediate scrutiny.

        In Fowler, because the policy discriminated on sex and intermediate scrutiny therefore
applied, the Court found no need to consider whether transgender status is a quasi-suspect class,
or say anything about Brown v. Zavaras, 63 F.3d 967 (10th Cir. 1995). Slip Op. 44. Here, although
the same analysis is available to this Court, Ms. Griffith renews her request that the Court
affirmatively address Brown, to avoid future confusion, as courts both within and outside this
Circuit (including the district court) have continued to construe Brown as mandating rational basis
review of Equal Protection claims by transgender plaintiffs. Op. Br. 24-31; see also Oral Arg.
15:30-16:05 (United States); id. 39:02-38 (Ms. Griffith’s rebuttal).
    Appellate Case: 23-1135       Document: 120        Date Filed: 06/20/2024   Page: 2




All the best,




Devi M. Rao

Counsel for Appellant Darlene Griffith

Enclosed: Fowler v. Stitt, No. 23-5080 (10th Cir. June 18, 2024) Slip Opinion
Appellate Case: 23-1135    Document: 120    Date Filed: 06/20/2024   Page: 3



                    CERTIFICATE OF COMPLIANCE

      Pursuant to Fed. R. App. 28(j) the body of the foregoing letter does not

exceed 350 words.

                      CERTIFICATE OF SERVICE

      I hereby certify that on June 20, 2024, I electronically filed the

foregoing with the Clerk of the Court for the United States Court of Appeals

for the Tenth Circuit by using the appellate CM/ECF system.

      Participants in the case who are registered CM/ECF users will be served

by the appellate CM/ECF system.


Date: June 20, 2024                                s/ Devi M. Rao
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                           UNITED STATES COURT OF APPEALS                June 18, 2024

                                                                     Christopher M. Wolpert
                                 FOR THE TENTH CIRCUIT                   Clerk of Court
                             _________________________________

  ROWAN FOWLER; ALLISTER HALL;
  CARTER RAY,

         Plaintiffs - Appellants,

  v.                                                       No. 23-5080

  KEVIN STITT, in his official capacity as
  Governor of the State of Oklahoma;
  KEITH REED, in his official capacity as
  Commissioner of Health for the Oklahoma
  State Department of Health; and KELLY
  BAKER, in her official capacity as State
  Registrar of Vital Records,

         Defendants - Appellees.

  ------------------------------

  AMERICAN CIVIL LIBERTIES UNION;
  AMERICAN CIVIL LIBERTIES UNION
  OF OKLAHOMA; GLBTQ LEGAL
  ADVOCATES & DEFENDERS; STATE
  OF KANSAS; STATE OF ARKANSAS;
  STATE OF IOWA; STATE OF
  INDIANA; STATE OF GEORGIA;
  STATE OF LOUISIANA; STATE OF
  MISSISSIPPI; STATE OF MISSOURI;
  STATE OF MONTANA; STATE OF
  NEBRASKA; STATE OF NORTH
  DAKOTA; STATE OF SOUTH
  CAROLINA; STATE OF TENNESSEE;
  STATE OF TEXAS; STATE OF UTAH;
  STATE OF WEST VIRGINIA,

         Amici Curiae.
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                      Appeal from the United States District Court
                        for the Northern District of Oklahoma
                         (D.C. No. 4:22-CV-00115-JWB-MTS)
                        _________________________________

 Peter C. Renn, Lambda Legal Defense and Education Fund, Inc., Los Angeles, California
 (Sasha Buchert, Lambda Legal Defense and Education Fund, Inc., Washington, D.C.;
 Shelly L. Skeen, Lambda Legal Defense and Education Fund, Inc., Dallas, Texas; and
 Karen Keith Wilkins, Tulsa, Oklahoma, with him on the briefs), for Plaintiffs –
 Appellants.

 Audrey A. Weaver, Assistant Solicitor General, Office of the Attorney General for the
 State of Oklahoma (Garry M. Gaskins, II, Solicitor General, and Zach West, Director of
 Special Litigation, with her on the brief), Oklahoma City, Oklahoma, for Defendants –
 Appellees.

 Harper S. Seldin, American Civil Liberties Union Foundation, New York, New York;
 and Adam Hines and Megan Lambert, American Civil Liberties Union of Oklahoma
 Foundation, Oklahoma City, Oklahoma, filed an amicus curiae brief for American Civil
 Liberties Union and American Civil Liberties Union of Oklahoma.

 Kimberly A. Havlin and Ariell D. Branson, White & Case LLP, New York, New York;
 and Patience Crozier, GLBTQ Legal Advocates & Defenders, Boston, Massachusetts,
 filed an amicus curiae brief for GLBTQ Legal Advocates & Defenders.

 Kris Kobach, Attorney General, Anthony Powell, Solicitor General, and Erin B. Gaide,
 Assistant Attorney General, Office of the Attorney General for the State of Kansas,
 Topeka, Kansas, filed an amicus curiae brief for State of Kansas, State of Arkansas, State
 of Iowa, State of Indiana, State of Georgia, State of Louisiana, State of Mississippi, State
 of Missouri, State of Montana, State of Nebraska, State of North Dakota, State of South
 Carolina, State of Tennessee, State of Texas, State of Utah, and State of West Virginia.
                          _________________________________

 Before HARTZ, McHUGH, and FEDERICO, Circuit Judges.
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 McHUGH, Circuit Judge.
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        Starting in at least 2007, the Oklahoma State Department of Health (“OSDH”)

 permitted transgender people to obtain Oklahoma birth certificates with amended sex

 designations.1 So, for example, a transgender woman assigned male at birth could

 obtain an amended Oklahoma birth certificate indicating she is female. This practice

 ended in 2021 after an individual obtained an amended Oklahoma birth certificate

 with a gender-neutral sex designation. Oklahoma Governor Kevin Stitt learned about

 this amended birth certificate and publicly stated, “I believe that people are created

 by God to be male or female. Period.” App. at 22. Shortly thereafter, Governor Stitt

 issued an Executive Order directing OSDH to stop amending sex designations on

 birth certificates.

        Plaintiffs Rowan Fowler, Allister Hall, and Carter Ray are transgender people

 without amended Oklahoma birth certificates. This means the sex listed on their birth

 certificates does not reflect their gender identities. Plaintiffs all obtained court orders

 directing that their sex designations on official documents be amended. They then

 applied for amended birth certificates. OSDH denied all three applications, citing the

 Governor’s Executive Order.

        Plaintiffs sued Governor Stitt; OSDH’s Commissioner of Health, Keith Reed;

 and the State Registrar of Vital Records, Kelly Baker (collectively, “Defendants”), in



        1
         Plaintiffs refer to the male/female designation on identity documents as both
 a “sex designation” and a “gender marker.” For consistency, we use “sex
 designation” when referring to male/female designations. But we do not alter quotes
 using other terms.

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                23-5080
                     23-1135
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 their official capacities. Plaintiffs’ suit centers on Defendants’ practice of denying

 sex-designation amendments (“the Birth Certificate Policy” or “the Policy”).

 Pursuant to 42 U.S.C. § 1983, Plaintiffs asserted claims under the Equal Protection

 and Due Process Clauses of the Fourteenth Amendment. Specifically, Plaintiffs

 allege the Policy violates equal protection because it unlawfully discriminates based

 on transgender status and sex. Additionally, Plaintiffs allege that without amended

 birth certificates, they must involuntarily disclose their transgender status when

 providing their birth certificates to others. They contend these involuntary disclosures

 violate their substantive due process right to privacy.

       Defendants moved to dismiss under Federal Rule of Civil Procedure 12(b)(6),

 arguing Plaintiffs failed to state a claim. The district court granted the Motion, and

 Plaintiffs appealed. For the reasons set forth below, we reverse the district court’s

 dismissal of the equal protection claim. But we affirm the district court’s dismissal of

 Plaintiffs’ substantive due process claim.

                                 I.     BACKGROUND

                                  A.    Factual History

       Because we are reviewing the dismissal of a complaint for failure to state a

 claim, we draw the facts from Plaintiffs’ well pleaded factual allegations and

 construe them in the light most favorable to Plaintiffs. McDonald v. Kinder-Morgan,

 Inc., 287 F.3d 992, 997 (10th Cir. 2002). We begin with a general discussion of sex,

 gender identity, and gender dysphoria drawn from Plaintiffs’ allegations. We then

 outline the allegations concerning the Policy and Plaintiffs’ relevant experiences.

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                23-5080
                     23-1135
                          Document:
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                                                        06/20/2024
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 1.     Sex, Gender Identity, and Gender Dysphoria2

        According to the Complaint, individuals are typically assigned a sex at birth

 based solely on the appearance of their external genitalia. Yet, all individuals have

 “multiple sex-related characteristics, including hormones, external and internal

 morphological features, external and internal reproductive organs, chromosomes, and

 gender identity.” App. at 14. Gender identity is “a person’s core internal sense of

 their own gender.” Id. Each person has a gender identity, “and that gender identity is

 the critical determinant of a person’s sex.” Id. Furthermore, “[t]here is a medical

 consensus that gender identity is innate, has biological underpinnings (including

 sexual differentiation in the brain), and is fixed at an early age.” Id. at 15.

        Most people are cisgender, meaning their sex assigned at birth aligns with their

 gender identity. But some people are transgender, meaning their sex assigned at birth

 conflicts with their gender identity. An incongruence between sex assigned at birth

 and gender identity is associated with gender dysphoria. “Gender dysphoria refers to

 clinically significant distress that can result when a person’s gender identity differs

 from the person’s sex assigned at birth.” Id. “If left untreated, gender dysphoria may

 result in serious consequences including depression, self-harm, and even suicide.” Id.

 at 16. Moreover, attempts to alter gender identity “are not only unsuccessful but also

 dangerous, risking psychological and physical harm, including suicide.” Id. at 15.


        2
          We take no position on the correct way to define sex or treat gender
 dysphoria. But at this stage in the litigation, we must accept Plaintiffs’ well pleaded
 facts as true and view those facts in the light most favorable to Plaintiffs. Teigen v.
 Renfrow, 511 F.3d 1072, 1078 (10th Cir. 2007).
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                23-5080
                     23-1135
                          Document:
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                                                        06/20/2024
                                                             06/18/2024
                                                                     Page:Page:
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       Internationally recognized standards of care govern the treatment of gender

 dysphoria. Treatment generally involves transgender people living in a manner

 consistent with their gender identity—a process called transition. Each person’s

 transition varies but may include social and medical transition. “Social transition

 entails a transgender person living in a manner consistent with the person’s gender

 identity.” Id. at 16. For a transgender man, this may mean wearing traditionally male

 clothing, using male pronouns, and adopting grooming habits associated with men.

 Medical transition “includes treatments that bring the sex-specific characteristics of a

 transgender person’s body into alignment with their gender identity, such as hormone

 replacement therapy or surgical care.” Id.

       Plaintiffs allege that an essential part of transitioning is amending the name

 and sex designation on identity documents. Relevant here, transgender people will

 often request an amended birth certificate because birth certificates are “critical and

 ubiquitous identity document[s] used in many settings to verify a person’s identity.”

 Id. at 11. Birth certificates are also often used to obtain other identity documents, like

 driver’s licenses and passports. Without amended birth certificates, transgender

 people may have difficulty proving their identity because of a visible discord

 between their gender identity and their sex designation. Additionally, transgender

 people without amended birth certificates have less control over when they reveal

 their transgender status. This is because they may need to show their birth certificates

 to others who may perceive a difference between their gender identity and sex

 designation.

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                23-5080
                     23-1135
                          Document:
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                                        120 Date Filed:
                                                  Date 06/20/2024
                                                        Filed: 06/18/2024
                                                                       Page: Page:
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 2.     The Birth Certificate Policy3

        OSDH is responsible for Oklahoma’s vital records, including issuing and

 amending Oklahoma birth certificates. Starting in at least 2007, OSDH allowed

 transgender people to amend the sex designations on their birth certificates. From

 2018 to late 2021, at least one hundred transgender individuals received Oklahoma

 birth certificates with amended sex designations.

        OSDH stopped amending sex designations when it began implementing the

 Birth Certificate Policy. Plaintiffs define the Birth Certificate Policy as the policy “of

 refusing to provide transgender people with birth certificates that match their gender

 identity.”4 Id. at 20.



        3
          Defendants refer to the challenged state action as “Oklahoma law.”
 Appellees’ Br. at 10–11. We use “the Birth Certificate Policy” or “the Policy”
 because Plaintiffs allege it is the Policy, not Oklahoma law, that prevents them from
 obtaining amended birth certificates. Specifically, they allege that OSDH provided
 sex-designation amendments under Okla. Stat. tit. 63, § 1-321 for over ten years
 before Governor Stitt’s Executive Order, that transgender people may still acquire
 court orders directing that their sex designations be amended, that OSDH officials
 cite the Executive Order when denying sex-designation amendments, and that
 Governor Stitt and his office have specifically instructed OSDH officials not to
 provide sex-designation amendments. At this stage, we must accept these allegations
 as true and view them in the light most favorable to Plaintiffs. McDonald v. Kinder-
 Morgan, Inc., 287 F.3d 992, 997 (10th Cir. 2002). Accordingly, we accept as true
 that the Policy, not Oklahoma law, prevents Plaintiffs from obtaining amended birth
 certificates.
        4
          Plaintiffs also claim the Policy includes the refusal to provide an amended
 birth certificate “without the mandatory inclusion of revision history that discloses a
 person’s transgender status.” App. at 20. Before the Policy, OSDH included revision
 history when amending a transgender person’s birth certificate. The parties did not
 present arguments concerning revision history on appeal, so we do not consider this
 aspect of Plaintiffs’ Complaint.
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                23-5080
                     23-1135
                          Document:
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                                        120 Date Filed:
                                                  Date 06/20/2024
                                                        Filed: 06/18/2024
                                                                       Page: Page:
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        Plaintiffs allege that the Birth Certificate Policy originates in part from a 2021

 settlement between OSDH and an individual whose gender identity and assigned sex

 conflicted. Per the settlement, the individual received “an amended Oklahoma birth

 certificate with a gender-neutral designation, consistent with their gender identity.”

 Id. at 21–22. Governor Stitt responded to the settlement by issuing a statement,

 declaring, “I believe that people are created by God to be male or female. Period.” Id.

 at 22. He further stated, “There is no such thing as non-binary sex, and I

 wholeheartedly condemn the OSDH court settlement that was entered into by rogue

 activists who acted without receiving proper approval or oversight.” Id. He promised

 to “tak[e] whatever action necessary to protect Oklahoma values.” Id.

        The following month, Governor Stitt issued Executive Order 2021-24

 (“Executive Order”). The Executive Order states that Oklahoma law does not

 “provide OSDH or others any legal ability to in any way alter a person’s sex or

 gender on a birth certificate.” Id. The Executive Order also directs OSDH to

 immediately “[c]ease amended birth certificates [sic] that is in any way inconsistent

 with” Okla. Stat. tit. 63, § 1-321. Id. (first alteration in original). The Executive

 Order further specified that the Commissioner of Health, among others, “shall cause

 the provisions of this Order to be implemented.” Id. The Executive Order requires

 “OSDH to inform Governor Stitt’s office of any pending litigation related to

 amending birth certificates.” Id.

        In April 2022, Governor Stitt signed Senate Bill 1100 into law. Accordingly,

 § 1-321 now states, “Beginning on the effective date of this act, the biological sex

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                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                        120 Date Filed:
                                                  Date 06/20/2024
                                                        Filed: 06/18/2024
                                                                       Page: Page:
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 designation on a certificate of birth amended under this section shall be either male

 or female and shall not be nonbinary or any symbol representing a nonbinary

 designation including but not limited to the letter ‘X.’”5 Okla. Stat. tit. 63,

 § 1-321(H). Plaintiffs allege § 1-321(H) “does not prohibit transgender men and

 women from correcting their birth certificates to match their male or female gender

 identity,” but merely limits the sex designation choices to male or female. App. at 23.

 But they allege § 1-321(H) as informed by the Policy is regarded by Defendants as

 prohibiting amendments to sex designations.

        Plaintiffs further allege that Oklahoma permits individuals to amend the sex

 designation on a driver’s license without an amended birth certificate. Furthermore,

 forty-seven states, the District of Columbia, and Puerto Rico all permit transgender

 people to amend the sex designation on their birth certificates. And the United States

 Department of State “permits changes to the gender marker on a citizen’s passport

 through self-certification.” Id. at 24.

 3.     The Plaintiffs

        After Governor Stitt issued the Executive Order, OSDH began denying

 requests to amend sex designations on birth certificates. Ms. Fowler, Mr. Hall, and

 Mr. Ray were among the transgender people denied amended birth certificates. We

 briefly outline each person’s relevant experiences as alleged in the Complaint.



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         Prior to this amendment, § 1-321 listed specific information that could be
 amended on a birth certificate but did not discuss sex designations. See Okla. Stat. tit.
 63, § 1-321 (2021).
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Appellate
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                23-5080
                     23-1135
                          Document:
                              Document:
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                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            13 10



        Ms. Fowler is a transgender woman who began living openly as female in

  2021, when she was forty-six years old. As part of her transition, Ms. Fowler “has

  taken steps to bring her body and her gender expression into alignment with her

  female gender identity, including through clinically appropriate treatment undertaken

  in consultation with health care professionals.” Id. at 26. She has also been diagnosed

  with gender dysphoria, and her treatment includes “hormone therapy and social

  transition to living openly as female.” Id.

        As part of her transition, Ms. Fowler petitioned to change her conventionally

  male first and middle names to be more consistent with her female gender identity.

  An Oklahoma district court granted her petition and ordered, among other things, that

  Ms. Fowler “shall be designated as female on official documents generated, issued,

  or maintained in the State of Oklahoma.” Id.

        Ms. Fowler has taken steps to change her sex designation on official records.

  For example, Ms. Fowler has updated her sex designation in her records with the

  Social Security Administration, the Transportation Security Administration, and the

  federal health insurance marketplace. She also updated her Oklahoma driver’s license

  to indicate she is female, although there was some difficulty because she was initially

  told she needed to present an amended birth certificate.

        Ms. Fowler also tried to amend the sex designation on her birth certificate. She

  provided OSDH with the court order directing that she “shall be designated as female

  on official documents” and paid the requisite fee. Id. OSDH cashed Ms. Fowler’s



                                                10
Appellate
     Appellate
          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
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  check but later denied her request in an email from Ms. Baker. In the email,

  Ms. Baker invoked Governor Stitt’s Executive Order.

        According to the Complaint, not having an amended birth certificate has

  negatively impacted Ms. Fowler. For instance, the discrepancy between Ms. Fowler’s

  driver’s license and birth certificate resulted in uncomfortable questions when she

  applied for the TSA PreCheck program. Ms. Fowler has also been unable “to update

  her gender-related information with credit-related entities, which have insisted that

  they need a corrected birth certificate.” Id. at 30. Finally, Ms. Fowler alleges she will

  need to provide her birth certificate to others in the future, including employers.

        Mr. Hall is a transgender man who “has taken steps to bring his body and his

  gender expression into alignment with his male gender identity.” Id. at 31. He has

  been diagnosed with gender dysphoria, and his treatment includes “hormone therapy

  and social transition to living openly as male.” Id. Because of the hormone therapy,

  Mr. Hall has facial hair and “a more typically masculine appearance.” Id.

        To aid his transition, Mr. Hall petitioned to change the sex designation on his

  official Oklahoma documents, as well as his first and middle names. An Oklahoma

  district court granted his petition, ordering that Mr. Hall “shall be designated as male

  on official documents generated, issued, or maintained in the State of Oklahoma.” Id.

  Mr. Hall updated his name and sex designation in his records with the Social Security

  Administration. He also updated his name and sex designation on his Oklahoma

  driver’s license. But like Ms. Fowler, he was denied an amended birth certificate,

  despite providing OSDH with the court order, filing an application, and paying the

                                             11
Appellate
     Appellate
          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            15 12



  fee. Ms. Baker invoked Governor Stitt’s Executive Order in an email denying

  Mr. Hall’s request.

        Without an amended birth certificate, Mr. Hall has been unable to amend other

  identity documents. For example, Mr. Hall alleges he is a member of the Choctaw

  Nation of Oklahoma, and he has a tribal membership card that identifies him by name

  and sex. He tried to update the membership card to reflect his gender identity but was

  told any change required an amended birth certificate. This harms Mr. Hall because

  he needs his tribal membership card to access tribal services, including health

  services. Moreover, he will continue to need his birth certificate in the future to prove

  his identity and to update other identity documents.

        Mr. Ray is a transgender man who “has taken steps to bring his body and his

  gender expression into alignment with his male gender identity.” Id. at 34. He has

  also been diagnosed with gender dysphoria and, as a result, has begun hormone

  therapy and transitioning to living openly as male. Because of the hormone therapy,

  Mr. Ray “has a more typically masculine expression, including a typically male

  voice.” Id.

        Mr. Ray petitioned to change his name and sex designation, and an Oklahoma

  district court granted his petition. Mr. Ray alleges the court ordered “that the gender

  marker on Mr. Ray’s birth certificate be changed to male and that OSDH issue a new

  birth certificate consistent with the changes ordered.” Id. Mr. Ray requested an

  amended birth certificate, attaching the court’s order and paying the necessary fee,



                                             12
Appellate
     Appellate
          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            16 13



  but OSDH denied his request. Mr. Ray received an email from Ms. Baker denying his

  request and invoking Governor Stitt’s Executive Order.

         Mr. Ray has been able to change his sex designation on other documents. His

  Oklahoma driver’s license is updated, although like Ms. Fowler, he was initially told

  an amended birth certificate would be required. Mr. Ray has also updated the sex

  designation in his Social Security Administration and school records. Further, he is

  an Emergency Medical Technician (EMT), so he has updated his information with

  “the bodies that license and maintain a registry of EMTs.” Id.

         According to the Complaint, not having an amended birth certificate is an

  obstacle in Mr. Ray’s life. After purchasing a home, for example, he sought to obtain

  services under his name and was told he needed two forms of identification, one of

  which could be a birth certificate. He had similar issues when attempting to update

  his information with a credit card company. And when he tried to update his

  information with the body handling EMT licensing, he was initially asked to provide

  his birth certificate and then required “to determine if there were alternate ways of

  proving his identity.” Id. at 37. Mr. Ray alleges he will need to provide his birth

  certificate to others in the future.

         Ms. Fowler, Mr. Hall, and Mr. Ray have all experienced discrimination and

  hostility when others have learned they are transgender. Additionally, they have all

  experienced hostility when presenting identity documents that conflict with their

  gender identity.



                                             13
Appellate
     Appellate
          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            17 14



                                 B.      Procedural History

         Plaintiffs initiated this action against Defendants in March 2022. They brought

  their claims under 42 U.S.C. § 1983. They allege the Birth Certificate Policy violates

  the United States Constitution, specifically the First Amendment and the Fourteenth

  Amendment’s Equal Protection and Due Process Clauses. Plaintiffs seek declaratory

  relief, injunctive relief, and fees and costs under 42 U.S.C. § 1988. They do not seek

  money damages. The district court dismissed Plaintiffs’ First Amendment claim for

  failure to state a claim. Plaintiffs have not appealed that dismissal, so we focus our

  discussion on the equal protection and substantive due process claims.

         In their equal protection claim, Plaintiffs contend that “[o]thers born in

  Oklahoma, who are not transgender, are not deprived of birth certificates that

  accurately reflect their gender identity.” Id. at 38. They thus allege the Policy

  unlawfully discriminates against transgender people on the basis of transgender status

  and sex. Plaintiffs also argue transgender people are a quasi-suspect class, so the

  Policy must pass intermediate scrutiny.

         In their substantive due process claim, Plaintiffs allege the Policy results in

  involuntary disclosure of transgender status when a transgender person must disclose

  a birth certificate. Plaintiffs assert these involuntary disclosures violate their




                                              14
Appellate
     Appellate
          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            18 15



  fundamental right to privacy because their transgender status is highly sensitive

  personal information.6

        Defendants moved to dismiss under Federal Rule of Civil Procedure 12(b)(6),

  arguing Plaintiffs failed to state a claim upon which relief can be granted. Defendants

  argued that the Policy does not discriminate between groups, that transgender status

  is not a suspect class, and that the Policy survives rational basis review. Defendants

  further argued Plaintiffs had not identified a fundamental right and had failed to

  allege that Defendants disclosed Plaintiffs’ transgender status.

        The district court granted Defendants’ Motion to Dismiss. Concerning equal

  protection, the district court concluded that binding Tenth Circuit precedent holds

  transgender status is not a quasi-suspect class. And regardless, the district court

  determined that transgender status is not a quasi-suspect class because transgender

  people have political power. The district court stated it was unwilling to “compress[]

  transgender people into classifications based on sex” but did not further consider

  whether the Policy unlawfully discriminates on the basis of sex. Id. at 83.

        Because the court concluded the Policy “does not infringe upon a fundamental

  liberty interest or implicate a suspect class,” it evaluated the Policy under rational

  basis review. Id. at 86. Defendants raised two state interests, and the court considered



        6
          Plaintiffs also alleged the Policy burdens “the right to define and express a
  person’s gender identity and the right not to be treated in a manner contrary to a
  person’s gender by the government.” App. at 40. Plaintiffs have not pursued this
  theory on appeal, and we do not address it.

                                             15
Appellate
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          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            19 16



  both. First, Defendants argued the Policy protects “the integrity and accuracy of vital

  records, including documenting birth information and classifying individuals based

  on the two sexes.” Id. The court concluded this was a legitimate state interest

  rationally related to the Policy because “[u]nder Oklahoma law, the purpose of a birth

  certificate is to record ‘the facts of the birth.’” Id. at 87 (quoting Okla. Stat. tit. 63,

  § 1-311(B)). Second, Defendants argued the Policy “protect[s] the interests of

  women.” Id. at 86. When considering this rationale, the court discussed the “debate

  raging across the country about the propriety of allowing biological men to

  participate in women’s sports.” Id. at 89. The court then concluded that the Policy

  could protect women by providing a way to identify “biological men” and exclude

  them from women’s sports. Id. Having determined the Policy satisfied rational basis

  review, the court concluded the Policy did not infringe on Plaintiffs’ rights under the

  Equal Protection Clause.

         The district court next considered the substantive due process claim. The court

  concluded that Plaintiffs had not adequately alleged a fundamental constitutional

  right because their asserted right—the right to privacy—was defined too generally.

  The court determined the asserted right is really “the right to amend the sex

  designation on [Plaintiffs’] birth certificate[s] to be consistent with their gender

  identity.” Id. at 74. This is not a fundamental right, the court concluded, because it is

  not “anchored in history and tradition” and not “fundamental to our scheme of

  ordered liberty.” Id. at 74, 77. Additionally, the court explained that any fundamental



                                               16
Appellate
     Appellate
          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            20 17



  right to privacy is not implicated because Plaintiffs, not Defendants, disclose

  Plaintiffs’ birth certificates.

         The district court thus concluded Plaintiffs failed to state a plausible equal

  protection or substantive due process claim and dismissed Plaintiffs’ Fourteenth

  Amendment claim. Plaintiffs timely appealed.

                                    II.    DISCUSSION

         We review “de novo the district court’s grant of a motion to dismiss pursuant

  to Rule 12(b)(6).” Teigen v. Renfrow, 511 F.3d 1072, 1078 (10th Cir. 2007). We thus

  accept all well pleaded facts as true and view them in the light most favorable to

  Plaintiffs. Id. If the complaint includes “enough facts to state a claim to relief that is

  plausible on its face,” then dismissal is not warranted. Bell Atl. Corp. v. Twombly,

  550 U.S. 544, 570 (2007). “A claim has facial plausibility when the plaintiff pleads

  factual content that allows the court to draw the reasonable inference that the

  defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678

  (2009).

         We begin by considering whether Defendants are entitled to Eleventh

  Amendment immunity. We conclude they are not. Next, we address Plaintiffs’ equal

  protection and due process claims. We conclude that Plaintiffs plausibly stated a

  claim under the Equal Protection Clause but not the Due Process Clause.




                                              17
Appellate
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          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            21 18



                          A.     Eleventh Amendment Immunity

         Plaintiffs are suing state officials, so the immunity granted to the states by the

  Eleventh Amendment is implicated. But under Ex parte Young, 209 U.S. 123 (1908),

  Defendants are not entitled to Eleventh Amendment immunity.7

         The Eleventh Amendment grants states sovereign immunity from suit.

  Hendrickson v. AFSCME Council 18, 992 F.3d 950, 965 (10th Cir. 2021). “This

  immunity extends to suits brought by citizens against their own state.” Id. The

  Eleventh Amendment also “bars suits for damages and other forms of relief against

  state defendants acting in their official capacities.” Buchheit v. Green, 705 F.3d 1157,

  1159 (10th Cir. 2012). This bar exists because suits against state officials in their

  official capacities are “no different from” suits “against the State itself.” Will v.

  Mich. Dep’t of State Police, 491 U.S. 58, 71 (1989).

         If Eleventh Amendment immunity applies, the federal courts do not have

  jurisdiction because “the Constitution does not provide for federal jurisdiction over

  suits against nonconsenting States.” Kimel v. Fla. Bd. of Regents, 528 U.S. 62, 73

  (2000); see also Peterson v. Martinez, 707 F.3d 1197, 1205 (10th Cir. 2013).

  However, the Eleventh Amendment does not always bar suits against nonconsenting




         7
          Although neither party raised Eleventh Amendment immunity, we may
  address it sua sponte. Williams v. Utah Dep’t of Corr., 928 F.3d 1209, 1212 (10th
  Cir. 2019). We elect to address it sua sponte because “Eleventh Amendment
  immunity constitutes a bar to the exercise of federal subject matter jurisdiction.” Id.
  (brackets and quotation marks omitted).

                                              18
Appellate
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          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            22 19



  states.8 Relevant here, Ex parte Young creates an exception “for suits seeking

  prospective injunctive relief.” Buchheit, 705 F.3d at 1159. To determine whether Ex

  parte Young applies, courts “need only conduct a ‘straightforward inquiry into

  whether [the] complaint alleges an ongoing violation of federal law and seeks relief

  properly characterized as prospective.’” Verizon Md., Inc. v. Pub. Serv. Comm’n of

  Md., 535 U.S. 635, 645 (2002) (alteration in original) (quoting Idaho v. Coeur

  d’Alene Tribe of Idaho, 521 U.S. 261, 296 (1997) (O’Connor, J., concurring)). A

  court conducting this analysis should not analyze “the merits of the claim.” Id. at

  646.

         Additionally, Ex parte Young allows suit only if the named state official has

  “‘some connection with the enforcement’ of the challenged” action. Hendrickson,

  992 F.3d at 965 (quoting Ex parte Young, 209 U.S. at 157). “Otherwise, the suit is

  ‘merely making [the official] a party as a representative of the state’ and therefore

  impermissibly ‘attempting to make the state a party.’” Id. (alteration in original)

  (quoting Ex parte Young, 209 U.S. at 157). Thus, Ex parte Young “require[s] that the

  state official have a particular duty to enforce the statute in question and a

  demonstrated willingness to exercise that duty.” Id. (internal quotation marks

  omitted).


         8
           Congress may abrogate the States’ Eleventh Amendment immunity “pursuant
  to a valid grant of constitutional authority.” Kimel v. Fla. Bd. of Regents, 528 U.S.
  62, 73 (2000). But Congress did not abrogate immunity in 42 U.S.C. § 1983, the
  statute under which Plaintiffs brought their claims. Muscogee (Creek) Nation v. Okla.
  Tax Comm’n, 611 F.3d 1222, 1227 (10th Cir. 2010).

                                             19
Appellate
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          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            23 20



        Turning to the instant case, Plaintiffs allege an ongoing violation of federal

  law, and their requested relief is prospective. See Verizon, 535 U.S. at 645. Plaintiffs

  seek the following relief:

           A declaration that enforcement of the Birth Certificate Policy violates the
            United States Constitution,

           An order permanently enjoining Defendants and their agents from
            enforcing the Policy,

           An order directing Defendants to immediately provide Plaintiffs their
            amended birth certificates as requested,

           An order directing Defendants “to take any necessary and appropriate
            action to ensure that transgender people” can obtain amended Oklahoma
            birth certificates that match their gender identity and do not include
            information that would disclose their transgender status,

           An order directing “Defendants to maintain the confidentiality of
            information disclosing a person’s transgender status,” and

           Fees and costs under 42 U.S.C. § 1988.

  App. at 41–42.

        Viewing all facts in Plaintiffs’ favor, they are seeking prospective relief

  because they are attempting to stop alleged ongoing violations of federal law and are

  not seeking monetary compensation for past legal wrongs. See Verizon, 535 U.S. at

  646. And to the extent Plaintiffs seek a declaration that Defendants violated federal

  law in the past, that does not bar application of Ex parte Young. This is because, as

  far as Oklahoma is concerned, “the prayer for declaratory relief adds nothing to the

  prayer for injunction.” Id.

        Furthermore, Plaintiffs sufficiently allege Defendants “have some connection

  with the enforcement” of the Policy. Ex parte Young, 209 U.S. at 157. Plaintiffs
                                             20
Appellate
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          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            24 21



  allege Mr. Reed is OSDH’s Commissioner of Health and “supervises the activities of

  OSDH, enforces Oklahoma’s vital statistics laws, and maintains and operates

  Oklahoma’s system of vital statistics.” App. at 13–14. Plaintiffs further allege

  Ms. Baker “is the official custodian of the vital records of the state, and she also

  enforces Oklahoma’s vital statistics laws.” Id. at 14. Ms. Baker also sent the emails

  denying Plaintiffs’ applications for amended birth certificates. Accordingly, Plaintiffs

  have alleged Mr. Reed and Ms. Baker are sufficiently connected to the Policy’s

  enforcement for Ex parte Young to apply.

        Concerning Governor Stitt, Plaintiffs have alleged more than a general duty to

  enforce the law. See 13 Charles Alan Wright & Arthur R. Miller, Federal Practice &

  Procedure § 3524.3 (3d ed. 1998) (“[T]he duty must be more than a mere general

  duty to enforce the law.”); see also Hendrickson, 992 F.3d at 967 (holding a governor

  was entitled to sovereign immunity because she did not have “a particular duty to

  enforce the challenged statute,” and her connection to the statute “stem[med] from

  [her] general enforcement power”). Specifically, Plaintiffs allege Governor Stitt

  oversees OSDH and “has taken actions under color of state law to prevent

  transgender people from accessing Oklahoma birth certificates matching their gender

  identity.” App. at 13. They further allege that Governor Stitt’s Executive Order set

  the Policy in motion and that OSDH invoked the Executive Order when denying

  Plaintiffs’ applications for amended birth certificates. Consequently, Plaintiffs have

  alleged an adequate connection between Governor Stitt and the Policy, thus

  demonstrating they did not sue Governor Stitt in an attempt to make Oklahoma a

                                             21
Appellate
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          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            25 22



  party. See Ex parte Young, 209 U.S. at 157; see also Wright & Miller, Federal

  Practice & Procedure § 3524.3 (“When there is some chance that the governor may

  act to enforce a statute, however, some courts have been willing to retain the

  governor as a named defendant.”).

        In short, Defendants are proper parties under Ex parte Young and do not have

  Eleventh Amendment immunity. We thus turn to the merits of Plaintiffs’ claims.

                                  B.     Equal Protection

        The Equal Protection Clause provides, “No State shall . . . deny to any person

  within its jurisdiction the equal protection of the laws.” U.S. Const. amend. XIV, § 1.

  This is “a direction that all persons similarly situated should be treated alike.” City of

  Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 439 (1985). To state a viable equal

  protection claim, Plaintiffs must allege that the Policy purposefully discriminates

  against them because of their membership in a particular class. Engquist v. Or. Dep’t

  of Agric., 553 U.S. 591, 594 (2008); Ashaheed v. Currington, 7 F.4th 1236, 1250

  (10th Cir. 2021). Plaintiffs must also allege that the Policy fails under the appropriate

  level of scrutiny. Ashaheed, 7 F.4th at 1250.

        We first assess whether the Birth Certificate Policy purposefully discriminates

  on the basis of transgender status and sex. We conclude that it does. Accordingly, we

  next consider whether the Policy satisfies rational basis review and intermediate

  scrutiny. Because the Policy cannot withstand even rational basis review, Plaintiffs

  have stated a viable equal protection claim.



                                              22
Appellate
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          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            26 23



  1.     Purposeful Discrimination

         An equal protection claim must allege that the challenged state action

  purposefully discriminates based on class membership. Id. Purposeful discrimination

  may be shown “directly or circumstantially.” Id. “Direct proof is showing that a

  distinction between groups of persons appears on the face of a state law or action.”

  Id. (internal quotation marks omitted). When a distinction is facially apparent,

  purposeful discrimination is presumed and no further examination of intent is

  required. Dalton v. Reynolds, 2 F.4th 1300, 1308 (10th Cir. 2021).

         If the state action is facially neutral, however, a court may infer purposeful

  discrimination from the “totality of the relevant facts.” Washington v. Davis, 426

  U.S. 229, 242 (1976). For example, a court may consider whether the state action

  disparately impacts one group. Id. But disparate impact “is not the sole touchstone”

  of purposeful discrimination. Id. Other touchstones include the “historical

  background of the decision,” the “specific sequence of events leading up to the

  challenged decision,” and “[d]epartures from the normal procedural sequence.” Vill.

  of Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 267 (1977).

  Importantly, a plaintiff need not allege that discrimination “was the sole, or even the

  primary, motivation.” Navajo Nation v. New Mexico, 975 F.2d 741, 743 (10th Cir.

  1992). The plaintiff need allege only that the state actor chose “a particular course of

  action at least in part ‘because of,’ not merely ‘in spite of,’ its adverse effects upon

  an identifiable group.” Pers. Adm’r of Mass. v. Feeney, 442 U.S. 256, 279 (1979).

  Similarly, the plaintiff is not required to show “discriminatory animus, hatred, or

                                              23
Appellate
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          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            27 24



  bigotry.” Colo. Christian Univ. v. Weaver, 534 F.3d 1245, 1260 (10th Cir. 2008).

  “The ‘intent to discriminate’ forbidden under the Equal Protection Clause is merely

  the intent to treat differently.” Id.

         Plaintiffs argue the Policy purposefully discriminates on the basis of

  transgender status and sex. We first address transgender status, concluding that the

  Policy does discriminate on that basis. Rather than proceed directly to applying

  judicial scrutiny to the Policy on that basis, we next address whether the Policy also

  discriminates on the basis of sex. We do so despite our holding that the Policy

  discriminates on the basis of transgender status because the level of scrutiny to be

  applied may vary depending on the class subject to discrimination.

         a.     Transgender status

         Plaintiffs contend the Policy facially discriminates on the basis of transgender

  status. They also contend they allege facts from which the court could infer

  purposeful discrimination. We address each argument in turn. We conclude that at

  minimum, Plaintiffs have alleged facts from which we may reasonably infer

  purposeful discrimination on the basis of transgender status.

                i.     Facial discrimination

         To show a facial classification, Plaintiffs must identify “a distinction” that

  appears on the Policy’s face. See Ashaheed, 7 F.4th at 1250 (quotation marks

  omitted). At first glance, the Policy appears facially neutral because it prevents all

  Oklahomans—regardless of their sex or gender identity—from amending the sex

  designation on their birth certificates. But Plaintiffs argue the Policy is facially

                                               24
Appellate
     Appellate
          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            28 25



  discriminatory because “by definition, only transgender people are harmed by the”

  Policy.9 Reply at 12. At oral argument, Plaintiffs cited for the first time Bray v.

  Alexandria Women’s Health Clinic, 506 U.S. 263 (1993), for the proposition that a

  law may be facially discriminatory even if it theoretically applies to everyone.

        In Bray, the Supreme Court held that opposition to abortion did not necessarily

  demonstrate sex-based discrimination.10 506 U.S. at 270. This is because “there are

  common and respectable reasons for opposing [abortion], other than hatred of, or

  condescension toward (or indeed any view at all concerning), women as a class.” Id.

  Yet the Court acknowledged that “[s]ome activities may be such an irrational object

  of disfavor that, if they are targeted, and if they also happen to be engaged in

  exclusively or predominantly by a particular class of people, an intent to disfavor that

  class can readily be presumed.” Id. For example, a “tax on wearing yarmulkes is a tax


        9
           Plaintiffs also contend the Policy is facially discriminatory because “the
  Governor’s office specifically instructed OSDH officials not to amend the birth
  certificates of transgender people to match their male and female gender identity.”
  Reply at 12. In their Complaint, Plaintiffs allege, “Upon information and belief,
  Governor Stitt and his office have enforced the Executive Order by specifically
  instructing OSDH officials that they cannot correct the birth certificates of
  transgender people to reflect their male or female gender identity.” App. at 23. It is
  not clear that this specific instruction was a facial aspect of the Policy, especially
  because as alleged, the Policy prevents all Oklahomans from amending their sex
  designations.
        10
           Bray v. Alexandria Women’s Health Clinic, 506 U.S. 263 (1993), did not
  involve a claim brought under the Equal Protection Clause. Rather, it involved a
  claim brought under 42 U.S.C. § 1985(3), which required the plaintiff to show that
  “some racial, or perhaps otherwise class-based, invidiously discriminatory animus
  [lay] behind the [defendants’] action.” Bray, 506 U.S. at 268 (first alteration in
  original) (quoting Griffin v. Breckenridge, 403 U.S. 88, 102 (1971)).

                                             25
Appellate
     Appellate
          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            29 26



  on Jews.” Id. But the Court did not specify that a tax on wearing yarmulkes facially

  discriminates against Jews. See id.

         Furthermore, the Court has stated that disparate impact alone does not show

  purposeful discrimination. See, e.g., Davis, 426 U.S. at 242 (“Disproportionate

  impact is not irrelevant, but it is not the sole touchstone of an invidious racial

  discrimination forbidden by the Constitution.”); Vill. of Arlington Heights, 429 U.S.

  at 264–65 (stating that Washington v. Davis, 426 U.S. 229 (1976), “made it clear that

  official action will not be held unconstitutional solely because it results in a racially

  disproportionate impact”); but see id. at 266 (acknowledging that in “rare” cases like

  Yick Wo v. Hopkins, 118 U.S. 356 (1886), or Gomillion v. Lightfoot, 364 U.S. 339

  (1960), “a clear pattern, unexplainable on grounds other than race, emerges from the

  effect of the state action even when the governing legislation appears neutral on its

  face”).

         There is thus some tension in the caselaw concerning whether disparate impact

  alone is sufficient to show facial discrimination. We need not address this tension,

  however, because Plaintiffs have alleged facts from which we can reasonably infer

  discriminatory purpose. See Navajo Nation, 975 F.2d at 743 (declining to decide

  whether state action was facially discriminatory when the “disparate impact analysis”

  revealed discriminatory intent).

                ii.    Totality of relevant facts

         A court may infer purposeful discrimination from the “totality of the relevant

  facts.” Davis, 426 U.S. at 242. Relevant facts may include disparate impact, the

                                              26
Appellate
     Appellate
          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            30 27



  “historical background” of the challenged action, the “sequence of events leading up

  to the challenged” action, and “[d]epartures from the normal procedural sequence.”

  Vill. of Arlington Heights, 429 U.S. at 267. Below, we evaluate Plaintiffs’ allegations

  concerning disparate impact and the Policy’s history. These allegations—combined

  with Defendants’ inability to justify the Policy—support a reasonable inference of

  purposeful discrimination.

        First, the Policy’s disparate impact on transgender people indicates

  discriminatory intent. Before the Policy, cisgender and transgender people could

  obtain Oklahoma birth certificates that accurately reflected their gender identity.

  After the Policy, cisgender people still have access to Oklahoma birth certificates

  reflecting their gender identity. Transgender people, however, may no longer obtain a

  birth certificate reflecting their gender identity. Consequently, the Policy affects

  transgender people but not cisgender people.

        Defendants, however, contend there is no disparate impact because Plaintiffs

  have not alleged “they are being denied amendments on their certificates while

  non-transgender persons are not.” Appellees’ Br. at 20. This argument fails to

  recognize that cisgender people do not need sex-designation amendments because

  they already have birth certificates accurately reflecting their gender identity. And

  because cisgender people do not need amendments, the Policy has no effect on them.

  After all, state action may apply to everyone equally but not affect everyone

  equally—“[a] tax on wearing yarmulkes is a tax on Jews.” See Bray, 506 U.S. at 270.



                                             27
Appellate
     Appellate
          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            31 28



         Other courts have held that similar laws or policies disparately impact

  transgender people by denying only them birth certificates that accurately reflect

  their gender identity. See D.T. v. Christ, 552 F. Supp. 3d 888, 895–96 (D. Ariz. 2021)

  (reasoning that requiring individuals to get a “sex change operation” before obtaining

  an amended birth certificate necessarily targeted transgender people); Ray v.

  McCloud, 507 F. Supp. 3d 925, 935–36 (S.D. Ohio 2020) (holding that prohibiting

  changes to sex listed on birth certificates “treats transgendered people differently

  than similarly situated Ohioans” who can amend their birth certificates to accurately

  reflect their identity); F.V. v. Barron, 286 F. Supp. 3d 1131, 1141 (D. Idaho 2018)

  (holding that prohibiting changes to sex listed on birth certificates denied

  “transgender people, as a class, access to birth certificates that accurately reflect their

  gender identity”).

         At least one district court has held that a policy prohibiting sex-designation

  amendments does not disparately impact transgender people. Gore v. Lee, No. 3:19-

  cv-0328, 2023 WL 4141665, at *23 (M.D. Tenn. June 22, 2023), appeal filed, Case

  No. 23-5669 (6th Cir. 2023). The district court in Gore concluded there was no

  disparate impact because the transgender plaintiffs had not shown “that the sex

  designation on a transgender person’s birth certificate is incorrect.” Id. at *11; see

  also id. at *23. But here, Plaintiffs have plausibly alleged that because of the Policy,

  their birth certificates do not accurately reflect their gender identities. And while they

  acknowledge Oklahoma’s right to maintain the original birth certificate accurately

  recording the sex designation made at birth, they contend that designation is no

                                              28
Appellate
     Appellate
          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            32 29



  longer accurate. Thus, taking the Complaint’s allegations as true, Gore’s reasoning is

  not persuasive.

         Next, the events leading up to the Policy’s adoption are sufficient to support a

  finding of discriminatory intent. Plaintiffs allege that starting in at least 2007,

  transgender people could amend the sex designation on their birth certificates. But

  after Governor Stitt learned about a settlement permitting a nonbinary person to have

  a gender-neutral designation, he stated, “I believe that people are created by God to

  be male or female. Period.”11 App. at 22. He also promised to protect “Oklahoma

  values” and shortly thereafter issued an Executive Order stating that Oklahoma law

  does not “provide OSDH or others any legal ability to in any way alter a person’s sex

  or gender on a birth certificate.” Id. Plaintiffs also allege that Governor Stitt and his

  office “specifically instruct[ed] OSDH officials that they cannot correct the birth

  certificates of transgender people to reflect their male or female gender identity.” Id.

  at 23. OSDH officials cited the Executive Order when denying Plaintiffs’

  applications for amended birth certificates.

         This sequence of events demonstrates that the Policy was implemented “at

  least in part ‘because of’” the effect it would have on transgender people. See Feeney,


         11
            These events may also show purposeful discrimination against nonbinary
  people. But that does not negate Plaintiffs’ equal protection claim because they need
  not allege the Policy was motivated solely by an intent to discriminate against
  transgender people. See Pers. Adm’r of Mass. v. Feeney, 442 U.S. 256, 279 (1979)
  (stating discriminatory purpose “implies that the decisionmaker . . . selected or
  reaffirmed a particular course of action at least in part ‘because of,’ not merely ‘in
  spite of,’ its adverse effects upon an identifiable group”).

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          Case:Case:
                23-5080
                     23-1135
                          Document:
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                                    010111066868
                                         120 Date Filed:
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                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            33 30



  442 U.S. at 279. When read in context, Governor Stitt’s statement about God creating

  people to be male or female demonstrates disfavor with people amending their birth

  certificates to change the sex designation. And Governor Stitt made this statement

  shortly before directing OSDH to stop amending the sex listed on transgender

  individuals’ birth certificates.

         In response, Defendants contend that “expressing religious beliefs cannot

  possibly be considered invidious, given our country’s rich tradition of religious

  freedom and expression.” Appellees’ Br. at 23. But Plaintiffs are not challenging the

  Governor’s right to express his beliefs. They are merely highlighting his statements

  to show the intent of the Policy is to target transgender people. See Vill. of Arlington

  Heights, 429 U.S. at 268 (stating that “legislative or administrative history may be

  highly relevant” to discriminatory intent, “especially where there are contemporary

  statements by members of the decisionmaking body”).

         Defendants also argue Governor Stitt’s statements are irrelevant because they

  “cannot be assigned to a law duly enacted by a separate branch of government.”

  Appellees’ Br. at 23. This argument builds on Defendants’ contention that Plaintiffs

  are really challenging Okla. Stat. tit. 63, § 1-321(H), which was enacted after

  Governor Stitt’s Executive Order. But Plaintiffs allege that the Policy, not § 1-

  321(H), prevents them from obtaining amended birth certificates. Recall that

  § 1-321(H) simply limits sex designations on birth certificates to male or female,

  without speaking to requests to change from one approved sex designation to the

  other in an amended birth certificate. Okla. Stat. tit. 63, § 1-321(H). Accordingly,

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          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            34 31



  Governor Stitt’s statements are germane because Plaintiffs are challenging a policy

  he set in motion that precludes OSDH from issuing birth certificates with amended

  sex designations.

         We are not persuaded, however, of the relevance of one allegation Plaintiffs

  rely on in support of their claim of purposeful discrimination. Plaintiffs allege that

  the day after Governor Stitt’s public statements, the OSDH Commissioner

  “announced his unexpected ‘resignation.’” App. at 22. Plaintiffs argue this was a

  departure from normal procedures evincing the Policy’s discriminatory intent. But

  Plaintiffs have not alleged enough facts for us to reasonably infer the resignation was

  related to the Policy, let alone that it demonstrates a discriminatory intent. We thus

  do not consider the Commissioner’s resignation as part of our equal protection

  analysis.

         Lastly, Defendants’ inability to proffer a legitimate justification for the Policy

  suggests it was motivated by animus towards transgender people. As we explain later,

  the Policy is not rationally related to a legitimate state interest. See infra Section

  II.B.2. Indeed, the Policy is wholly disconnected from Defendants’ proffered

  justifications. See id. When state action cannot be explained by a legitimate state

  interest, it “raise[s] the inevitable inference that the disadvantage imposed is born of

  animosity toward the class of persons affected.” Romer v. Evans, 517 U.S. 620, 634

  (1996).

         Given the Policy’s disparate impact on transgender people, the events leading

  to the Policy’s adoption, and Defendants’ inability to justify the Policy as advancing

                                              31
Appellate
     Appellate
          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            35 32



  a legitimate state interest, we could conclude that the Policy “seems inexplicable by

  anything but animus toward” transgender people. Id. at 632. But even without this

  conclusion, Plaintiffs have sufficiently alleged the Policy was motivated by an intent

  to treat transgender people differently. No more is required. See Colo. Christian

  Univ., 534 F.3d at 1260. Plaintiffs have thus adequately alleged the Policy

  purposefully discriminates against transgender people.

         b.    Sex

         Plaintiffs contend that because the Policy discriminates based on transgender

  status, it necessarily discriminates on the basis of sex as well. This argument relies on

  the Supreme Court’s reasoning in Bostock v. Clayton County, 590 U.S. 644 (2020).

  Defendants respond that because Bostock is a Title VII case, it does not apply to

  equal protection claims. As set forth below, we agree with Plaintiffs that Bostock’s

  reasoning applies here.12

         In Bostock, the Supreme Court considered whether it is possible to fire an

  employee for being transgender or homosexual without discriminating against that

  employee based on sex. 590 U.S. at 650–52. The case arose under Title VII, which

  prohibits discrimination “because of . . . sex.” Id. at 655 (quoting 42 U.S.C. § 2000e-

  2(a)(1)).


         12
          Plaintiffs argue the Policy facially discriminates based on sex because it
  “cannot be stated, much less understood, without referencing sex.” Appellants’ Br. at
  18–19. Although we agree with Plaintiffs’ application of Bostock v. Clayton County,
  590 U.S. 644 (2020), we need not decide whether the Policy is sex-based
  discrimination on its face.

                                             32
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          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
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                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
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        The Court first stated it would assume that “sex” means “biological

  distinctions between male and female.” Id. The Court then explained that Title VII

  focuses “on individuals, not groups,” because it proscribes discrimination “against

  any individual” because of the “individual’s” sex. Id. at 658 (quoting 42 U.S.C.

  § 2000e-2(a)(1)). Title VII’s focus on the individual means an employer can violate

  Title VII even if it treats men and women equally. Id. at 659 (“Nor is it a defense for

  an employer to say it discriminates against both men and women because of sex.”).

        Turning to the merits, the Court held, “[I]t is impossible to discriminate

  against a person for being homosexual or transgender without discriminating against

  that individual based on sex.” Id. at 660. To illustrate, the Court considered two

  hypothetical employees who are alike in all respects, except one is a transgender

  woman and the other is a cisgender woman. See id. If the employer fires only the

  transgender woman, the employer has “intentionally penalize[d]” her “for traits or

  actions that it tolerates in an employee identified as female at birth.” Id. As the Court

  explained, “if changing the employee’s sex would have yielded a different choice by

  the employer,” then sex-based discrimination has occurred. Id. at 659–60.

        The Court further held that even if the employer’s “ultimate goal” is to

  discriminate against transgender employees, the employer still intentionally

  discriminates based on sex. Id. at 661–62. This is because transgender status is

  “inextricably bound up with sex.” Id. at 660–61. So even if the employer’s goal is to

  discriminate based on transgender status, “the employer must, along the way,

  intentionally treat an employee worse based in part on that individual’s sex.” Id. at

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          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
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  662. In other words, an employer who intends to discriminate based on transgender

  status necessarily intends to discriminate based in part on sex. Id. at 665 (“When an

  employer fires an employee for being homosexual or transgender, it necessarily and

  intentionally discriminates against that individual in part because of sex.”).

        Applied here, Bostock’s reasoning leads to the conclusion that the Policy

  intentionally discriminates against Plaintiffs based in part on sex.13 Take Ms. Fowler,

  for example. If her sex were different (i.e., if she had been assigned female at birth),

  then the Policy would not deny her a birth certificate that accurately reflects her

  identity. So too for Mr. Hall and Mr. Ray—had they been assigned male at birth, the

  Policy would not impact them. Thus, the Policy intentionally treats Plaintiffs

  differently because of their sex assigned at birth. See id. at 660–62.

        Nevertheless, Defendants and the dissent suggest several reasons for why

  Bostock’s reasoning should not apply here. For the reasons we now explain, we find

  none persuasive. Defendants and the dissent first suggest that Bostock limited its own

  reasoning to the Title VII context. The dissent, for example, notes that the Supreme

  Court stated, “The only question before us is whether an employer who fires someone

  simply for being homosexual or transgender has discharged or otherwise

  discriminated against that individual ‘because of such individual’s sex.’” Id. at 681.

  Although that was the only question the Supreme Court decided, the Court did not

  indicate that its logic concerning the intertwined nature of transgender status and sex


        13
          In our analysis, we use “sex” to mean sex assigned at birth. Plaintiffs allege
  “sex” has other definitions, but those definitions are not necessary to our conclusion.
                                             34
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          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
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  was confined to Title VII. See id. at 660–61 (stating that “homosexuality and

  transgender status are inextricably bound up with sex”).

        However, the dissent contends it would have been tedious for the Supreme

  Court to qualify every sentence with a reminder that the analysis was limited to the

  context of employment discrimination. True. But the Supreme Court did not once

  state that its analysis concerning the relationship between transgender status and sex

  was specific to Title VII cases—and it could have done so without unduly

  encumbering the opinion. Indeed, although the employers in Bostock warned that the

  reasoning adopted by the Court would “sweep beyond Title VII to other federal or

  state laws that prohibit sex discrimination,” id. at 681, the Court did not expressly

  limit its analysis to Title VII. Rather, the Court stated that other laws were not before

  it, so it would not “prejudge.” Id. And the Court stated it was not “purport[ing] to

  address bathrooms, locker rooms, or anything else of the kind.” Id. But the Court’s

  focus on Title VII and the issue before it suggests a proper exercise of judicial

  restraint, not a silent directive that its reasoning about the link between homosexual

  or transgender status and sex was restricted to Title VII.

        Defendants also dispute the applicability of Bostock, calling our attention to a

  Sixth Circuit case declining to adopt Bostock’s reasoning for equal protection claims.

  See L.W. ex rel. Williams v. Skrmetti, 83 F.4th 460, 484–85 (6th Cir. 2023), petition

  for cert. filed (U.S. Nov. 6, 2023) (No. 23-477), cert. dismissed in part sub nom. Doe

  v. Kentucky, 144 S. Ct. 389 (2023). There, the Sixth Circuit presented two reasons for

  not applying Bostock. The court first declined to apply Bostock because of

                                             35
Appellate
     Appellate
          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            39 36



  “[d]ifferences between the language of the statute and the Constitution.” Id. at 484;

  see also Eknes-Tucker v. Governor of Ala., 80 F.4th 1205, 1228–29 (11th Cir. 2023)

  (declining to apply Bostock to equal protection claims because of linguistic

  differences between Title VII and the Equal Protection Clause). Our sister circuits are

  correct that Title VII and the Equal Protection Clause are not interchangeable. The

  Equal Protection Clause “addresses all manner of distinctions between persons” and

  “implies different degrees of judicial scrutiny.” Students for Fair Admissions, Inc. v.

  President & Fellows of Harvard Coll., 600 U.S. 181, 308 (2023) (Gorsuch, J.,

  concurring). In contrast, Title VII is limited to certain classifications, and it does not

  incorporate tiers of scrutiny. Bostock, 590 U.S. at 655. But we see nothing about

  these differences that would prevent Bostock’s commonsense reasoning—based on

  the inextricable relationship between transgender status and sex—from applying to

  the initial inquiry of whether there has been discrimination on the basis of sex in the

  equal protection context. See id. at 660. While further analysis may preclude

  recovery under the appropriate level of scrutiny, the corollary between sex and

  transgender status remains the same.

         The Sixth Circuit next concluded that “[i]mporting the Title VII test for

  liability into the Fourteenth Amendment also would require adding Title VII’s many

  defenses to the Constitution: bona fide occupational qualifications and bona fide

  seniority and merit systems, to name a few.” L.W., 83 F.4th at 485. But adopting

  Bostock’s commonsense explanation for how to detect a sex-based classification does

  not require us to import Title VII’s “test for liability.” See id. Moreover, as Judge

                                              36
Appellate
     Appellate
          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
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  White pointed out in dissent, the defenses identified by the majority are codified in

  separate provisions of Title VII, “thus belying any notion that those defenses must

  apply in equal-protection cases.” Id. at 503 n.7 (White, J., dissenting).

        Nonetheless, Defendants and the dissent argue the Policy cannot be sex-based

  discrimination because it applies equally to all, regardless of sex. But in Bostock, the

  Supreme Court explained that an employer discriminates based on sex even if it is

  “equally happy to fire male and female employees who are homosexual and

  transgender.” 590 U.S. at 662.

        Granted, the Supreme Court reached this conclusion after emphasizing that

  Title VII’s use of “individual” makes it clear that the “focus should be on individuals,

  not groups.” Id. at 658. At first blush, this focus on individuals may seem unsuitable

  to equal protection claims, which often concern group treatment. See Engquist, 553

  U.S. at 601 (“Our equal protection jurisprudence has typically been concerned with

  governmental classifications that ‘affect some groups of citizens differently than

  others.’” (quoting McGowan v. Maryland, 366 U.S. 420, 425 (1961))). But the

  Supreme Court has consistently held that the Fourteenth Amendment “protect[s]

  persons, not groups.”14 Adarand Constructors, Inc. v. Pena, 515 U.S. 200, 227


        14
            The dissent correctly notes that the Supreme Court stated the Fourteenth
  Amendment “protect[s] persons, not groups” to explain why even benign racial
  classifications are subject to strict scrutiny. See Adarand Constructors, Inc. v. Pena,
  515 U.S. 200, 227 (1995). Our reasoning does not apply the Supreme Court’s
  ultimate holding—that even members of a privileged group may assert an equal
  protection claim—but rather its underlying conclusion that the Constitution
  guarantees “the personal right to equal protection of the laws.” Id. at 232 (emphasis

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Appellate
     Appellate
          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
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  (1995); see also Parents Involved in Cmty. Schs. v. Seattle Sch. Dist. No. 1, 551 U.S.

  701, 743 (2007) (stating that Supreme Court precedent “makes clear that the Equal

  Protection Clause ‘protect[s] persons, not groups’” (alteration in original) (quoting

  Adarand, 515 U.S. at 227)). And the Equal Protection Clause uses “person,” much

  like Title VII uses “individual.” U.S. Const. amend. XIV, § 1.

        Of course, group classifications are not irrelevant to equal protection claims.

  An equal protection plaintiff must plausibly allege that she was treated differently

  and that “the different treatment was based on [her] membership in [a] particular

  class.” Engquist, 553 U.S. at 594. A plaintiff may meet this burden by alleging she

  belongs to a group that was treated differently than another group. See Schuette v.

  Coal. to Def. Affirmative Action, 572 U.S. 291, 324 n.7 (2014) (Scalia, J., concurring)

  (“Of course discrimination against a group constitutes discrimination against each

  member of that group.”). But a plaintiff may just as well allege that she, an

  individual, was treated differently because of her membership in a group. See

  Engquist, 553 U.S. at 594; see also Adarand, 515 U.S. at 229–30 (“[W]henever the

  government treats any person unequally because of his or her race, that person has

  suffered an injury that falls squarely within the language and spirit of the

  Constitution’s guarantee of equal protection.” (emphasis added)); id. at 227 (stating



  added); see also id. at 230 (stating there is a “long line of cases understanding equal
  protection as a personal right”). Put differently, we are quoting the Supreme Court to
  explain why each Plaintiff has a personal right to equal protection and “suffers an
  injury when he or she is disadvantaged by the government because of his or her [sex],
  whatever that [sex] may be.” Id. at 230.
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Appellate
     Appellate
          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
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  “that all governmental action based on race—a group classification . . .—should be

  subjected to detailed judicial inquiry to ensure that the personal right to equal

  protection of the laws has not been infringed”). In other words, she need not allege

  that one group was treated worse than another.

        Consider jury selection, for example. The Equal Protection Clause prohibits

  litigants from striking “potential jurors solely on the basis of gender.” J.E.B. v.

  Alabama ex rel. T.B., 511 U.S. 127, 143 (1994). Accordingly, “individual jurors

  themselves have a right to nondiscriminatory jury selection procedures.” Id. at 140–

  41. This “right extends to both men and women.” Id. at 141. It thus violates the equal

  protection clause to strike individual jurors because of their sex, even if one sex

  collectively is not treated worse than another. See id. at 140–42; see also L.W., 83

  F.4th at 482–83 (acknowledging that “sex-based peremptory challenges violate[]

  equal protection even though the jury system ultimately may not favor one sex over

  the other”).

        In other contexts, the Supreme Court has likewise held that equal application

  does not guarantee constitutionality under the Fourteenth Amendment. In Loving v.

  Virginia, for example, Virginia argued that its antimiscegenation laws did not

  discriminate based on race because they punished Black and White citizens equally.15


        15
           Virginia’s antimiscegenation laws did not criminalize the same conduct for
  Black and White people. Loving v. Virginia, 388 U.S. 1, 4 (1967). White people were
  prohibited from marrying all non-White people, while Black people were prohibited
  only from marrying White people. Id.; see also id. at 5 n.4. Nevertheless, a Black
  person and a White person who married each other were punished equally. Id. at 4.

                                             39
Appellate
     Appellate
          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
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  388 U.S. 1, 8 (1967). The Court disagreed, “reject[ing] the notion that the mere

  ‘equal application’ of a statute containing racial classifications is enough to remove

  the classifications from the Fourteenth Amendment’s proscription of all invidious

  racial discriminations.” Id. Since Loving, the Court has continued to reject “equal

  application” arguments. See, e.g., Powers v. Ohio, 499 U.S. 400, 410 (1991) (“It is

  axiomatic that racial classifications do not become legitimate on the assumption that

  all persons suffer them in equal degree.”).16 For this reason, we are unpersuaded by

  the argument that the Policy is not sex-based discrimination if it applies equally to all

  sexes.17

        Still, the dissent maintains that Plaintiffs have sufficiently alleged only that the

  purpose of the Policy was to disadvantage transgender people. Thus, the dissent



  Virginia unsuccessfully argued that this “equal application” meant there was no
  racial discrimination. Id. at 7–9.
        16
            Under the Equal Protection Clause, race-based claims are subject to a higher
  level of scrutiny than sex-based claims. City of Cleburne v. Cleburne Living Ctr., 473
  U.S. 432, 440–41 (1985). But we have no reason to believe the initial question—
  whether there is a classification—differs depending on the classification at issue.
        17
           The dissent relies on then-Judge Gorsuch’s opinion in SECSYS, LLC v. Vigil
  to support its contention that Plaintiffs have not sufficiently alleged intentional sex-
  based discrimination. 666 F.3d 678 (10th Cir. 2012) (opinion of Gorsuch, J., with
  Murphy, J., and Brorby, J., concurring in the result). In his opinion, then-
  Judge Gorsuch outlined how “‘traditional’ class-based equal protection jurisprudence
  generally proceeds.” Id. at 685. However, that case is not precedential because the
  other panelists concurred only in the result. Id. at 690. And regardless, SECSYS
  considered a claim that the plaintiff was unlawfully discriminated against because “it
  was willing to pay only some of an allegedly extortionate demand.” Id. at 683
  (emphasis omitted). Accordingly, the context of SECSYS is distinct from this case,
  where Plaintiffs allege the Policy discriminates against transgender people on the
  basis of sex. For these reasons, we do not rely on SECSYS.
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          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            44 41



  concludes, the element of intent is unproved. The Supreme Court could have reached

  this same conclusion in Bostock and held that the employers intended to discriminate

  only based on transgender status, not sex. But that is not what the Court held. Rather,

  the Court explained that to discriminate on the basis of transgender status, “the

  employer must, along the way, intentionally treat an employee worse based in part on

  that individual’s sex.” Bostock, 590 U.S. at 662. Similarly, the Policy here cannot

  discriminate against transgender people without, “along the way,” intentionally

  treating them “worse based in part on” sex. See id.

        Moreover, we are unpersuaded that the dissent’s yarmulke example

  demonstrates a lack of intent here. The dissent posits that if a law prohibited wearing

  yarmulkes, a sex discrimination claim would likely fail, even though the law has a

  disparate impact on male Jews. The sex discrimination claim will likely fail, the

  dissent explains, because male Jews cannot show the law intends to treat men

  differently. Even if this were true, our conclusion here regarding intent does not rest

  on a determination that the Policy disparately impacts men or women. Rather,

  applying Bostock’s reasoning, we conclude that because the Policy intends to

  discriminate based on transgender status, it necessarily intends to discriminate based

  in part on sex. Id. at 661–62. As Bostock explains, “it is impossible to discriminate

  against a person for being homosexual or transgender without discriminating against

  that individual based on sex.” Id. at 660. And that discrimination on the basis of sex

  is present irrespective of whether the targeted individual is a transgender male or

  transgender female.

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          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
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        The final argument against concluding the Policy is sex-based discrimination

  comes from Defendants. They remind us that binding Supreme Court precedent

  recognizes “biological differences between men and women.” Appellees’ Br. at 26.

  In United States v. Virginia, for example, the Court stated that “[p]hysical differences

  between men and women” are “enduring.” 518 U.S. 515, 533 (1996). We agree such

  differences exist and that they may be relevant to whether state action passes judicial

  scrutiny. But those differences “cannot render” a classification “sex- or

  gender-neutral.” L.W., 83 F.4th at 505 (White, J., dissenting); see also Tuan Anh

  Nguyen v. I.N.S., 533 U.S. 53, 60, 64 (2001) (applying intermediate scrutiny to a

  “gender-based classification” that “takes into account a biological difference

  between” women and men).

        We thus join the courts that have applied Bostock’s reasoning to equal

  protection claims. See, e.g., Kadel v. Folwell, 100 F.4th 122, 153–54 (4th Cir. 2024)

  (en banc); id. at 177–81 (Richardson, J., dissenting); Hecox v. Little, Nos. 20-35813,

  20-35815, 2023 WL 11804896, at *11 (9th Cir. June 7, 2024); LeTray v. City of

  Watertown, No. 5:20-cv-1194 (FJS/TWD), 2024 WL 1107903, at *7 (N.D.N.Y. Feb.

  22, 2024); D.T. v. Christ, 552 F. Supp. 3d 888, 896 (D. Ariz. 2021); but see L.W. ex

  rel. Williams v. Skrmetti, 83 F.4th 460, 484–85 (6th Cir. 2023), petition for cert. filed

  (U.S. Nov. 6, 2023) (No. 23-477), cert. dismissed in part sub nom. Doe v. Kentucky,

  144 S. Ct. 389 (2023); Eknes-Tucker v. Governor of Ala., 80 F.4th 1205, 1228–29

  (11th Cir. 2023); Poe v. Drummond, No. 23-cv-177-JFH-SH, 2023 WL 6516449, at

  *6 (N.D. Okla. Oct. 5, 2023), appeal filed, Case No. 23-5110 (10th Cir. Oct. 10,

                                             42
Appellate
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          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            46 43



  2023). Accordingly, Plaintiffs have plausibly alleged the Policy purposefully

  discriminates on the basis of sex.18

  2.     Levels of Scrutiny

         Although Plaintiffs have sufficiently alleged purposeful discrimination on the

  basis of transgender status and sex, that does not necessarily mean their claim is

  viable. Instead, Plaintiffs’ claims must be tested under the applicable level of judicial

  scrutiny. Ashaheed, 7 F.4th at 1250.

         The appropriate level of scrutiny varies depending on the classification at

  issue. City of Cleburne, 473 U.S. at 440–42. Suspect and quasi-suspect classifications

  receive heightened review. Id. at 440. Suspect classifications—race, alienage, and

  national origin—must pass strict scrutiny.19 Id. Strict scrutiny requires that the

  challenged action be “suitably tailored to serve a compelling state interest.” Id.

  Quasi-suspect classifications, like sex, must satisfy intermediate scrutiny, meaning

  the challenged action must be “substantially related to a sufficiently important

  governmental interest.” Id. at 441. All other classifications must pass rational basis

  review, a lesser scrutiny. Id. at 440. Rational basis requires that the challenged action

  be “rationally related to a legitimate state interest.” Id.




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           Plaintiffs also argue the Policy is sex-based discrimination because it relies
  on sex stereotypes. We need not consider this argument because we conclude the
  Policy, as alleged, is sex-based discrimination under Bostock’s reasoning.
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           State action that burdens a fundamental right must also pass strict scrutiny.
  City of Cleburne, 473 U.S. at 440.

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Appellate
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          Case:Case:
                23-5080
                     23-1135
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                              Document:
                                    010111066868
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                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            47 44



        Here, Plaintiffs argue intermediate scrutiny should apply because the Policy

  discriminates based on sex and because transgender status is a quasi-suspect class.

  Defendants respond that under our precedent, transgender status is not a quasi-

  suspect class. See Druley v. Patton, 601 F. App’x 632, 635 (10th Cir. 2015)

  (unpublished); Etsitty v. Utah Transit Auth., 502 F.3d 1215, 1227–28 (10th Cir.

  2007), overruled on other grounds by Bostock, 590 U.S. at 651–52; Brown v.

  Zavaras, 63 F.3d 967, 971 (10th Cir. 1995). We decline to decide whether

  transgender status is a quasi-suspect class because the Policy discriminates based on

  sex, so intermediate scrutiny applies regardless.

        As we now explain, the Policy cannot pass rational basis review. It follows

  then that it cannot pass the more exacting intermediate scrutiny either.

        a.     Rational basis

        Under rational basis review, we evaluate whether the state action is “rationally

  related to a legitimate state interest.” City of Cleburne, 473 U.S. at 440. Because

  Plaintiffs are challenging the Policy, they “have the burden ‘to negative every

  conceivable basis which might support it.’” F.C.C. v. Beach Commc’ns, Inc., 508

  U.S. 307, 315 (1993) (quoting Lehnhausen v. Lake Shore Auto Parts Co., 410 U.S.

  356, 364 (1973)). But “it is entirely irrelevant for constitutional purposes whether the

  conceived reason” was the actual motivation. Id. Furthermore, the proposed

  justification “is not subject to courtroom fact-finding and may be based on rational

  speculation unsupported by evidence or empirical data.” Id. Problems may also be

  addressed “incrementally,” meaning there may be rational solutions that are

                                             44
Appellate
     Appellate
          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            48 45



  nevertheless under- or overinclusive. Id. at 316; see also Vance v. Bradley, 440 U.S.

  93, 108 (1979) (explaining that a classification may be “to some extent both

  underinclusive and overinclusive”).20

         The district court concluded the Policy was rationally related to two legitimate

  state interests: “protecting the integrity and accuracy of vital records” and protecting

  “the interests of women.” App. at 86. Defendants assert these same interests on

  appeal. The State Amici assert two additional interests that merit consideration. We

  address each asserted interest below, concluding none are rationally related to the

  Policy.

                i.     Accuracy of vital records

         Defendants assert Oklahoma has a valid interest “in the accuracy [of] its own

  vital statistics recording facts about birth.” Appellees’ Br. at 47. We assume this is a

  legitimate state interest. Nonetheless, it is not rationally related to the Policy because

  even if transgender people amend the sex listed on their birth certificates, Oklahoma

  retains and has access to original birth certificates.




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           Plaintiffs argue we should apply a “more searching” version of rational basis
  because transgender people are an “unpopular group.” Appellants’ Br. at 42; see also
  Windsor v. United States, 699 F.3d 169, 180 (2d Cir. 2012) (“On the other hand,
  several courts have read the Supreme Court’s recent cases in this area to suggest that
  rational basis review should be more demanding when there are ‘historic patterns of
  disadvantage suffered by the group adversely affected by the statute.’” (quoting
  Massachusetts v. U.S. Dep’t of Health & Human Servs., 682 F.3d 1, 11 (1st Cir.
  2012))). Because the Policy fails under the ordinary rational basis standard, we need
  not consider whether to apply a “more searching” version.

                                              45
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          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            49 46



         Plaintiffs want amended birth certificates for their own use—they are not

  trying to prevent Oklahoma from keeping and then later accessing original birth

  certificates. See Okla. Stat. tit. 63, § 1-316(B)(2) (indicating original birth certificate

  is retained after adoption); Okla. Admin. Code 310:105-3-5 (indicating original birth

  certificate for child “born out of wedlock” is retained after a child “has been

  legitimated”). Indeed, Defendants do not dispute that after a birth certificate is

  amended, they retain access to the original. Rather, they emphasize that there are

  good reasons to record a person’s sex assigned at birth. This is a non sequitur.

  Plaintiffs are not challenging Oklahoma’s practice of recording sex assigned at birth

  or of retaining such records. Plaintiffs merely want amended birth certificates for

  their own use that do not require any changes to the original records kept by the state.

  Thus, the Policy does not ensure accuracy of “vital statistics recording facts about

  birth” because the same statistics are available, regardless of whether the Policy

  exists. See Appellees’ Br. at 47.

         Nevertheless, Defendants argue Oklahoma has an interest in ensuring that all

  Oklahoma birth certificates uniformly reflect sex assigned at birth. But this asserted

  interest is at odds with the fact that Oklahoma allows amendments to the sex

  designation on driver’s licenses. With the Policy in place, uniformity among official

  state documents is lacking because Oklahomans like Plaintiffs have a birth certificate

  that indicates one sex and a driver’s license that indicates another.

         Defendants also contend sex-designation amendments are different from other

  permitted amendments because sex is immutable. But Oklahoma allows amendments

                                              46
Appellate
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          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            50 47



  to other seemingly immutable facts—like birth parents. See Okla. Stat. tit. 63, § 1-

  316(A)(1); see also Ray v. McCloud, 507 F. Supp. 3d 925, 938 (S.D. Ohio 2020)

  (concluding an accuracy argument was unpersuasive because people are allowed to

  change the parents listed on their birth certificates); F.V. v. Barron, 286 F. Supp. 3d

  1131, 1142 (D. Idaho 2018) (same).

         For these reasons, the Policy is not rationally related to Defendants’ asserted

  interest in the accuracy of vital statistics.

                ii.    Protecting women’s interests

         Defendants next argue the Policy furthers Oklahoma’s interest in ensuring that

  individuals assigned male at birth do not compete in women’s athletic events. We

  assume this is a legitimate interest, but we nonetheless conclude it is not rationally

  related to the Policy.

         Oklahoma bans students assigned male at birth from competing on teams

  designated for women or girls. Okla. Stat. tit. 70, § 27-106(E). Oklahoma enforces

  this ban using affidavits, not birth certificates. Id. § 27-106(D) (“Prior to the

  beginning of each school year, the parent or legal guardian of a student who

  competes on a school athletic team shall sign an affidavit acknowledging the

  biological sex of the student at birth.”). Birth certificates (and thus the Policy) are

  irrelevant to ensuring only students assigned female at birth compete on athletic

  teams designated for women or girls. And again, Oklahoma keeps and has access to

  original birth certificates. So, even if Oklahoma required birth certificates for athletic



                                                  47
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          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
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  purposes, it could require review of the original birth certificates. Accordingly, the

  Policy is not rationally related to advancing this asserted interest.

                iii.   State Amici’s interests

         The State Amici raise two additional interests that merit consideration:

  preventing fraud and conserving resources.

         The State Amici first argue that the Policy helps prevent fraud: “[S]tates rely

  on vital records, including birth certificates, to determine a person’s eligibility for

  benefits. States have an interest in maintaining a complete, accurate, and uniform

  system to make those determinations and avoid fraud.” State Amici Br. at 13. The

  State Amici do not offer more information, so it is unclear what type of fraud the

  Policy supposedly prevents. It is also unclear how the amendments Plaintiffs seek

  create opportunities for fraud where the state keeps the original birth certificate.

  Further, the Policy results in transgender people, like Plaintiffs, having inconsistent

  identity documents, which may facilitate, rather than prevent, fraud. See Ray v.

  Himes, No. 2:18-cv-272, 2019 WL 11791719, at *11 (S.D. Ohio Sept. 12, 2019)

  (applying strict scrutiny and stating the court “cannot conceive” how preventing sex-

  designation amendments “helps prevent fraud rather than perpetuate it”).

         The State Amici also argue that amendments plainly “require some

  expenditure of state resources,” and “it is up to the state to determine whether such

  expenditures are worth it.” State Amici Br. at 13. Yet, the State Amici offer no

  discussion of what resources sex-designation amendments require. Nor do they

  explain how the Policy would rationally conserve those resources. While we do not

                                              48
Appellate
     Appellate
          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            52 49



  require “evidence or empirical data,” there must be some “rational speculation.”

  Beach Commc’ns, 508 U.S. at 315. Here, there is not enough information or legal

  argument for us to rationally speculate.

        For these reasons, the Policy is not rationally related to Oklahoma’s interests

  in preventing fraud and conserving resources.

                                             ***

        Plaintiffs have met their burden of negating every conceivable basis that might

  support the Policy. To be sure, rational basis is a low bar, and the challenged state

  action need not be perfect. But there must be some rational connection between the

  Policy and a legitimate state interest. There is no rational connection here—the

  Policy is in search of a purpose.

        Because the Policy does not survive rational basis review, it cannot survive

  intermediate scrutiny. In fact, the disconnect is even more apparent under

  intermediate scrutiny, which requires a substantial relationship between the Policy

  and the asserted interests. City of Cleburne, 473 U.S. at 441. For example, consider

  the asserted interest of conserving resources. The Policy allows other amendments to

  birth certificates that presumably consume state resources, yet there is no indication

  that the cost of processing amended birth certificates for transgender persons is

  meaningfully burdensome. See Craig v. Boren, 429 U.S. 190, 198 (1976) (citing

  Supreme Court cases that have “rejected administrative ease and convenience as

  sufficiently important objectives to justify gender-based classifications”).



                                             49
Appellate
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          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
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         Under the facts alleged, the Policy does not withstand scrutiny. Plaintiffs

  sufficiently allege a constitutional violation, and we reverse the dismissal of their

  equal protection claim.

                              C.     Substantive Due Process

         Plaintiffs allege that without amended birth certificates, they are forced to

  involuntarily disclose their transgender status when showing their original birth

  certificates to third parties. Plaintiffs contend these involuntary disclosures violate

  their right to privacy guaranteed by the Fourteenth Amendment’s Due Process

  Clause. The district court correctly dismissed this claim because Plaintiffs have not

  plausibly alleged state action.

         The Due Process Clause prohibits “any State” from depriving “any person of

  life, liberty, or property, without due process of law.” U.S. Const. amend. XIV, § 1

  (emphasis added). Thus, the Due Process Clause “erects no shield against merely

  private conduct, however discriminatory or wrongful.” Shelley v. Kraemer, 334 U.S.

  1, 13 (1948).

         Additionally, Plaintiffs bring their claim under 42 U.S.C. § 1983, which

  requires “(1) deprivation of a federally protected right by (2) an actor acting under

  color of state law.” VDARE Found. v. City of Colo. Springs, 11 F.4th 1151, 1160

  (10th Cir. 2021) (quotation marks omitted). Like the Fourteenth Amendment, § 1983

  requires Plaintiffs to allege the challenged action is “fairly attributable” to state

  action. Lugar v. Edmondson Oil Co., 457 U.S. 922, 937 (1982); Gallagher v. Neil



                                              50
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          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            54 51



  Young Freedom Concert, 49 F.3d 1442, 1447 (10th Cir. 1995) (quoting Lugar, 457

  U.S. at 937).

         The state action requirement is implicated when a plaintiff alleges that a state

  actor is liable for the actions of a private party. See, e.g., VDARE, 11 F.4th at 1156.

  Here, Plaintiffs allege Defendants are liable for Plaintiffs’ disclosures. But it is not

  enough that Plaintiffs challenge the Policy, which is state action. This is because

  Plaintiffs allege their privacy rights are violated when disclosures occur; they do not

  allege the violation occurred when their requests to amend were denied. See Lugar,

  457 U.S. at 937 (stating that “the conduct allegedly causing the deprivation of a

  federal right” must “be fairly attributable to the State”); see also Citizens for Health

  v. Leavitt, 428 F.3d 167, 178 (3d Cir. 2005) (considering whether there was state

  action because although the plaintiffs challenged a rule promulgated by the Secretary

  of Health, the alleged injury was disclosure of medical information “by third

  parties”). To adequately plead Defendants are liable for Plaintiffs’ involuntary

  disclosures, Plaintiffs must plausibly allege that those disclosures amount to state

  action. See VDARE, 11 F.4th at 1160.

         We have articulated several tests for evaluating when action by a third party

  constitutes state action, including the “nexus test.” Gallagher, 49 F.3d at 1448. We




                                              51
Appellate
     Appellate
          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
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  evaluate Plaintiffs’ claim under the nexus test because it is most appropriate for the

  facts of this case.21

         “Under the nexus test, a plaintiff must demonstrate that ‘there is a sufficiently

  close nexus’ between the government and the challenged conduct such that the

  conduct ‘may be fairly treated as that of the State itself.’” Id. (quoting Jackson v.

  Metro. Edison Co., 419 U.S. 345, 351 (1974)). This requirement ensures “that

  constitutional standards are invoked only when it can be said that the State is

  responsible for the specific conduct of which the plaintiff complains.” Blum v.

  Yaretsky, 457 U.S. 991, 1004 (1982). A state “normally can be held responsible for a

  private decision only when it has exercised coercive power or has provided such

  significant encouragement, either overt or covert, that the choice must in law be

  deemed to be that of the State.” Id.

         VDARE Foundation v. City of Colorado Springs is a useful demonstration of

  the nexus test. 11 F.4th at 1160–68. The plaintiff in VDARE was a nonprofit

  foundation that educated people about “the unsustainability of current U.S.

  immigration policy.” Id. at 1156. The nonprofit reserved a private resort in Colorado

  Springs, Colorado, for a conference. Id. Over four months after the reservation, there

  were violent protests in Charlottesville, Virginia, following a political rally. Id. at

  1157. Days after those protests, the Colorado Springs Mayor issued a public


         21
          The other tests are the “public function test,” the “joint action test,” and the
  “symbiotic relationship test.” Wittner v. Banner Health, 720 F.3d 770, 775 (10th Cir.
  2013). None of these tests are relevant to the facts of this case.

                                              52
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          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
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  statement on the city’s behalf that the city did not have the authority to “direct

  private businesses” like the resort “as to which events they may host.” Id. It then

  “encourage[d] local businesses to be attentive to the types of events they accept and

  the groups that they invite.” Id. The statement further explained that the city would

  “not provide any support or resources” to the nonprofit’s event. Id. The day after this

  statement, the resort canceled the nonprofit’s reservation, even though it had been

  actively coordinating with the nonprofit up to that point. Id.

         The nonprofit sued the city, alleging the city’s statement coerced the resort

  into canceling the reservation. Id. at 1157–58. The district court dismissed the

  complaint, and we affirmed on appeal, concluding the resort’s decision to cancel the

  reservation was not state action. Id. at 1158, 1160. We concluded there was not a

  sufficient nexus because the mayor’s statement did not threaten, order, or intimidate

  the resort into canceling the reservation. Id. at 1164–68. Thus, the resort’s decision

  was its own, and the nonprofit had not plausibly alleged state action. Id. at 1168.

         Like the resort in VDARE, Plaintiffs have not alleged Defendants threatened,

  ordered, or intimidated them into disclosing their birth certificates. They do allege

  third parties require birth certificates, but they do not allege those third-party

  requirements amount to state action. And although Defendants are likely aware third

  parties will require birth certificates, that is not enough under the nexus test—“Mere

  approval of or acquiescence in the initiatives of a private party is not sufficient to

  justify holding the State responsible for those initiatives under the terms of the

  Fourteenth Amendment.” Blum, 457 U.S. at 1004–05. Consequently, Plaintiffs have

                                              53
Appellate
     Appellate
          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            57 54



  not alleged that Defendants “exercised coercive power” or “provided such significant

  encouragement, either overt or covert,” that Plaintiffs’ disclosures “must in law be

  deemed” state action. See id. at 1004.

        Nevertheless, Plaintiffs cite other cases where courts held a transgender

  plaintiff’s right to privacy was violated because the state would not issue amended

  identity documents. But none of those cases considered the state action requirement.

  See Ray, 2019 WL 11791719, at *10 (“While ODH is not the entity requiring

  disclosure or the entity actually disclosing the information, the threat of disclosure is

  imposed indirectly by the government through its birth certificates.”); Arroyo

  Gonzalez v. Rossello Nevares, 305 F. Supp. 3d 327, 333 (D.P.R. 2018) (“By

  permitting plaintiffs to change the name on their birth certificate, while prohibiting

  the change to their gender markers, the Commonwealth forces them to disclose their

  transgender status in violation of their constitutional right to informational

  privacy.”); Love v. Johnson, 146 F. Supp. 3d 848, 856 (E.D. Mich. 2015) (concluding

  plaintiffs sufficiently pled the state violated their right to privacy by making it unduly

  burdensome to change the sex listed on state-issued IDs); K.L. v. Alaska, No. 3AN-

  11-05431 Cl., 2012 WL 2685183, at *6 (Alaska Sup. Ct. Mar. 12, 2012) (“Here,

  however, the fact that the DMV currently has no procedure allowing licensees to

  change the sex designation does not directly threaten the disclosure of this personal

  information. Nevertheless, the Court finds that such a threat is imposed indirectly.”).

  As a result, they are not persuasive.



                                             54
Appellate
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          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
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                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
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        Additionally, Plaintiffs argue that “the government cannot force people to

  choose between a valuable benefit and a constitutionally protected right.” Appellants’

  Br. at 40. But the cases they cite rely on the unconstitutional conditions doctrine,

  which states that the government cannot withhold benefits—such as tenure or a land-

  use permit—as a punishment for exercising constitutional rights. See Perry v.

  Sinderman, 408 U.S. 593, 598 (1972) (holding “that the nonrenewal of a nontenured

  public school teacher’s one-year contract may not be predicated on his exercise of

  First and Fourteenth Amendment rights”); Koontz v. St. Johns River Water Mgmt.

  Dist., 570 U.S. 595, 599, 606 (2013) (holding that it was unconstitutional to deny a

  land-use permit to an applicant who would not yield his land). Plaintiffs have not

  alleged that a benefit was withheld because they exercised a constitutional right.

  Thus, the unconstitutional conditions doctrine is inapplicable.

        Plaintiffs also contend that privacy violations may “occur even where no third-

  party disclosure occurs at all.” Appellants’ Br. at 40. In support, they cite Lankford v.

  City of Hobart, 27 F.3d 477, 479–80 (10th Cir. 1994). In Lankford, the plaintiff

  alleged that a police chief unlawfully seized her medical records from a hospital

  without a warrant and without her consent. Id. at 479. Plaintiffs here have not alleged

  that Defendants unlawfully accessed their private information, so Lankford is

  inapplicable. Similarly, Plaintiffs cite a case where teachers violated a student’s right

  to privacy by requiring her to answer questions about her “sexual orientation,

  virginity, and sexual practices.” Botello v. Morgan Hill Unified Sch. Dist., No. C09-

  02121 HRL, 2009 WL 3918930, at *4–5 (N.D. Cal. Nov. 18, 2009). Plaintiffs here

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          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            59 56



  have not alleged Defendants directly required them to disclose private information,

  so Botello is inapposite.

         Finally, Plaintiffs argue that Defendants are liable under a proximate cause

  theory. Plaintiffs do not explain why a proximate cause analysis should supplant our

  nexus test. But more importantly, they raised this argument for the first time in their

  Reply Brief, affording Defendants no opportunity to respond. Plaintiffs have waived

  any argument based on proximate cause. Anderson v. U.S. Dep’t of Lab., 422 F.3d

  1155, 1174 (10th Cir. 2005) (“The failure to raise an issue in an opening brief waives

  that issue.”).

         Plaintiffs have adequately alleged that transgender people without amended

  birth certificates face difficult choices. But to assert a substantive due process claim,

  Plaintiffs needed to allege that their involuntary disclosures amount to state action.

  They failed to do so. We therefore affirm the district court’s dismissal of Plaintiffs’

  substantive due process claim.

                                   III.   CONCLUSION

         Plaintiffs stated a plausible equal protection claim. We thus REVERSE the

  district court’s dismissal of Plaintiffs’ equal protection claim and REMAND for

  proceedings consistent with this decision. But we AFFIRM the dismissal of

  Plaintiffs’ substantive due process claim because Plaintiffs have failed to allege state

  action.




                                             56
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          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            60 57



  23-5080, Fowler v. Stitt
  HARTZ, J., dissenting in part.

         I join all but § II.B.1.b of the majority opinion. In particular, I agree that the Policy

  unconstitutionally discriminates against transgender persons because (1) the denial of a

  right to obtain an amended birth certificate with a revised gender identity disadvantages

  and was intended to disadvantage transgender persons and (2) there is no reasonable

  justification for the discrimination.

         I part company with the majority, however, when it declares that it would apply

  intermediate scrutiny to the Policy on the ground that it comes within the doctrine that

  requires such scrutiny under the Equal Protection Clause because it discriminates on the

  basis of sex. The seminal Supreme Court decision on sex discrimination held that “a

  mandatory preference to members of either sex over members of the other” violates the

  Clause. Reed v. Reed, 404 U.S. 71, 76 (1971). That doctrine has been invoked to

  invalidate a generally applicable law only when the law has intentionally treated males

  and females differently, to the detriment of one of the sexes. See, e.g., Sessions v.

  Morales-Santana, 582 U.S. 47, 58 (2017) (“Prescribing one rule for mothers, another for

  fathers, . . . is of the same genre as the classifications we declared unconstitutional in

  [Reed and four other cases].”) Yet no one could say that the Policy intentionally

  discriminates against males, or that it intentionally discriminates against females. The

  Policy treats males and females (whether determined at birth or at present) identically.

  Which sex was intentionally discriminated against?
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                23-5080
                     23-1135
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                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            61 58



         The majority relies on the Supreme Court opinion in Bostock v. Clayton County,

  590 U.S. 644 (2020), as establishing that any discrimination on the basis of transgender

  status is ipso facto discrimination on the basis of sex. But that opinion addressed an

  employment claim under Title VII, not a challenge to a generally applicable law under the

  Equal Protection Clause. As will be apparent from the following discussion, the analysis

  employed in Bostock is different in essential respects from the type of analysis required

  for the present challenge under the Equal Protection Clause.

         The Bostock analysis showed that an employer’s adverse employment action

  against a transgender person necessarily discriminated against the employee on the basis

  of gender at birth, which it deemed discrimination on the basis of sex. The Court

  emphasized that its focus should be on the individual employee, not the group (the class)

  to which the employee belonged. That is, the question was whether the individual

  employee would have been treated differently if the employee was of a different sex, not

  whether the employer in general treated one sex better than the other. See id. at 658–59. It

  then explained as follows why an employee discriminated against for being transgender

  was ipso facto also being discriminated against because of the employee’s birth gender.

         [T]ake an employer who fires a transgender person who was identified as a
         male at birth but who now identifies as a female. If the employer retains an
         otherwise identical employee who was identified as female at birth, the
         employer intentionally penalizes a person identified as male at birth for traits
         or actions that it tolerates in an employee identified as female at birth. Again,
         the individual employee’s sex plays an unmistakable and impermissible role
         in the discharge decision.

  Id. at 660. In short, the employer discriminates based on sex when it decides whether to

  fire an employee for particular behavior depending on whether the employee was born

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                     23-1135
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                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            62 59



  male or female. The employee is allowed to do something if he was born a male but not if

  he was born a female. This establishes that two otherwise identical employees are treated

  differently depending on birth sex.

         I recognize that there is language in Bostock that, out of context, could be read to

  say that any transgender discrimination is always prohibited discrimination on the basis

  of sex. But who wants to read an opinion in which every sentence is qualified by the

  language “in the context of employment discrimination under Title VII”? The language in

  the above-quoted paragraph of Bostock translates well to all examples of Title VII

  employment discrimination against transgender persons. In all such employment-

  discrimination cases one could show that but for the injured employee’s gender at birth,

  the injury would not have occurred. The approach taken by the Court in Bostock,

  however, does not translate to the circumstance we confront in this case. As a lower

  court, we should be most reluctant to reject the reasoning of a Supreme Court opinion

  even when used in a different context. But when that reasoning is not a good fit in the

  context before us, we need not blindly apply the Court’s conclusions to that different

  context. As the Bostock opinion states in response to a parade of horribles that allegedly

  would follow from the ruling in that case, “The only question before us is whether an

  employer who fires someone simply for being homosexual or transgender has discharged

  or otherwise discriminated against that individual ‘because of such individual’s sex.’” Id.

  at 681. To be sure, the opinion does not list contexts in which its analysis would not

  apply. And there are some contexts—such as an equal-protection claim by someone fired

  by a government employer—in which the Bostock analysis is likely applicable. But

                                               3
Appellate
     Appellate
          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            63 60



  resolving the game-changing issue in Bostock was surely enough work for the day. The

  Court could not possibly envision all the contexts in which its language might be

  invoked; and even if some other contexts could be anticipated, there was no need for the

  Court to think through and resolve other issues. Hence, the cautionary “The only question

  before us” language. We ignore that language at our peril.

         The essential difference between Bostock and the circumstances presented here

  concerns proof of intent. “Proof of racially discriminatory intent or purpose is required to

  show a violation of the Equal Protection Clause.” Vill. of Arlington Heights v. Metro.

  Hous. Dev. Corp., 429 U.S. 252, 265 (1977). In Bostock an inference of the requisite

  intent is compelling. The employer must be thinking, “I am firing this woman for

  misconduct (or appearance) only because of her biological (birth) gender, since I would

  not be firing her if her birth gender had been female.” For this reason, Bostock could say,

  “[A]n employer who discriminates on these grounds inescapably intends to rely on sex in

  its decisionmaking.” 590 U.S. at 661. The requisite intent may also be obvious with

  respect to a generally applicable law, as when the law on its face treats members of a

  class differently from others. But when, as with the Policy, the generally applicable law

  does not on its face distinguish between classes of people, proof of intent is more

  complicated. After all, there may be many unintended consequences of a generally

  applicable law, and the law may have a disparate impact on a class that was not the

  purpose of the law.

         Relying on Supreme Court decisions such as Personnel Administrator of

  Massachusetts v. Feeney, 442 U.S. 256 (1979), the author of Bostock summarized the

                                               4
Appellate
     Appellate
          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            64 61



  proper analysis to establish the intent of a generally applicable law in an opinion while on

  this court. It describes the first step courts take in conducting equal-protection analysis of

  such a law (the second step is whether the alleged discrimination is justified, which is not

  relevant to this partial dissent): “First, we ask whether the challenged state action

  intentionally discriminates between groups of persons. Discriminatory intent, however,

  implies more than intent as volition or intent as awareness of consequences. It requires

  that the decisionmaker selected or reaffirmed a particular course of action at least in part

  ‘because of,’ not merely ‘in spite of’ the law’s differential treatment of a particular class

  of persons.” SECSYS, LLC v. Vigil, 666 F.3d 678, 685 (10th Cir. 2012) (Gorsuch, J.)

  (citations, ellipsis, and internal quotation marks omitted). In other words, “a

  discriminatory effect against a group or class may flow from state action, it may even be

  a foreseen (or known) consequence of state action, but it does not run afoul of the

  Constitution unless it is an intended consequence of state action.” Id.

         The opinion then describes how one may prove the intent necessary for this type

  of equal-protection violation: “Intentional discrimination can take several forms. When a

  distinction between groups of persons appears on the face of a state law or action, an

  intent to discriminate is presumed and no further examination of legislative purpose is

  required.” Id. But “when the law under review is generally applicable to all persons, no

  presumption of intentional discrimination arises; proof is required. This is so because

  many laws, perhaps most and often unavoidably, affect some groups of persons

  differently than others even though they involve no intentional discrimination.” Id.

  “Disparate impact, then, is not necessarily the same thing as discriminatory intent.” Id. at

                                                5
Appellate
     Appellate
          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            65 62



  686. On the other hand, “while laws of general applicability may not be subject to a

  presumption of intentional discrimination, neither are they shielded from scrutiny. If the

  evidence shows that a generally applicable law was adopted at least in part because of,

  and not merely in spite of, its discriminatory effect on a particular class of persons, the

  first essential step of an equal protection challenge is satisfied.” Id.

         Turning to the case before us, the Policy is facially neutral. It applies generally to

  all persons. No one can obtain an amended birth certificate that changes gender. This does

  not, however, immunize the policy from an equal-protection attack. The majority opinion

  establishes that the Policy violates the Equal Protection Clause because it intentionally

  harms transgender persons. Where I disagree with the majority is in their conclusion that

  the Plaintiffs have also established a sex-discrimination equal-protection claim. The

  element of intent to disadvantage a class (male or female) is unproved.

         The yarmulke example in Bray v. Alexandria Women’s Health Clinic, 506 U.S.

  263, 270 (1993), can illustrate the shortcomings of the sex-discrimination analysis in the

  majority opinion. I will assume, contrary to some current practice, that only male Jews

  wear yarmulkes. Say, a statute prohibits the wearing of yarmulkes. Although the statute is

  facially neutral with respect to religion, I agree with the suggestion in Bray that an

  examination of the surrounding circumstances of enactment of the statute would almost

  certainly demonstrate the requisite intent to disfavor Jews. But what about discrimination

  on the basis of sex? Could a Jewish male succeed in a claim of sex discrimination,

  arguing that he is not able to fully practice his faith, whereas if just his sex were changed,

  leaving every other relevant attribute the same (in other words, if he were a female Jew),

                                                 6
Appellate
     Appellate
          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            66 63



  the law would have no effect on the practice of his faith? This argument mirrors the

  analytic approach of Bostock, which focuses on the circumstances of the individual

  employee (rather than on the class to which the employee belongs)—he would be

  disadvantaged in comparison to someone identical to him in every way except sex. But

  that is not enough to establish an equal-protection challenge to a generally applicable law.

  In this context the court looks to see whether males as a class are the object of an intent to

  discriminate. In the words of then-Judge Gorsuch, the term intent when used in assessing

  this kind of an equal-protection violation “implies more than intent as volition or intent as

  awareness of consequences. It requires that the decisionmaker selected or reaffirmed a

  particular course of action at least in part because of, not merely in spite of the law’s

  differential treatment of a particular class of persons.” SECSYS, 666 F.3d at 685 (citation,

  ellipsis, and internal quotation marks omitted). Establishing a sex-discrimination equal-

  protection claim against the yarmulke law would require a showing that the

  discriminatory impact on males was the consequence of an intent to disadvantage males.

  That would be hard to demonstrate, given that Jewish males are a very small fraction of

  the total population of males. See, e.g., Feeney, 442 U.S. at 276–81 (rejecting claim that

  statute providing veterans’ preference for state civil-service jobs reflects a gender-based

  discriminatory purpose depriving women of equal protection); id. at 281 (Stevens, J.,

  concurring) (noting that that there were many disadvantaged females (2,954,000) but

  there were also many disadvantaged males (1,867,000)).1


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         Rather than applying the Supreme Court’s approach, summarized by then-Judge
  Gorsuch in SECSYS (quoted at length above), to determining intent in an equal-protection
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Appellate
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          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            67 64



         Here, Ms. Fowler (just as the other two Plaintiffs) brings both a transgender-

  discrimination claim and a sex-discrimination claim against the Policy. Her theory behind

  the first claim is that as a transgender woman she is being discriminated against because

  she cannot obtain a birth certificate that reflects her present gender. In support of her sex-

  discrimination claim, she states that she is treated differently than a comparator with a

  present identity as a female whose birth identity was also female because the comparator

  already has a birth certificate reflecting her present gender identity. The record supports

  Ms. Fowler’s transgender-discrimination claim because the intended effect of the Policy

  was to disadvantage transgender persons in obtaining birth certificates reflecting their

  present identity. As the panel opinion establishes, the requisite intent was present in



  challenge to a generally applicable statute, the majority apparently believes that the
  approach need not be applied because the Equal Protection Clause “protects persons, not
  groups,” so it can simply adopt the reasoning of Bostock that resolved a claim of
  discrimination by an individual employer. Maj. Op. at 38 (cleaned up). But I know of no
  authority for that approach in resolving equal-protection challenges to generally
  applicable laws. To be sure, that quoted language appears in two Supreme Court opinions
  addressing equal-protection challenges to generally applicable laws. See Adarand
  Constructors, Inc. v. Pena, 515 U.S. 200, 227 (1995); Parents Involved in Cmty. Schs. v.
  Seattle Sch. Dist. No. 1, 551 U.S. 701, 743 (2007). But intent was not at issue in either
  case, since the generally applicable laws at issue discriminated on their face on the basis
  of race. Rather, the quoted language was part of the Supreme Court’s explanation why
  strict scrutiny should apply to any race discrimination, even discrimination purportedly
  justified by beneficent reasons. The point being made, as I understand it, was that an
  individual can invoke the protections of the Equal Protection Clause under the same
  standards as anyone else, even if the individual might be considered a member of a
  privileged group. See Schuette v. Coal. to Def. Affirmative Action, 572 U.S. 291, 324–25
  (2014) (Scalia, J., concurring) (invoking proposition that Fourteenth Amendment
  “protects persons, not groups” in rejecting the proposition that the Equal Protection
  Clause protects only “particular groups” and that only laws “burdening racial minorities”
  deny equal protection (cleaned up)).

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Appellate
     Appellate
          Case:Case:
                23-5080
                     23-1135
                          Document:
                              Document:
                                    010111066868
                                         120 Date Filed:
                                                  Date Filed:
                                                         06/20/2024
                                                              06/18/2024
                                                                      Page:Page:
                                                                            68 65



  promulgating the Policy. But I see no evidence of the requisite intent in promulgating the

  Policy to disadvantage either males or females. No person, either male (at birth or at

  present) or female (at birth or at present) can obtain an amended birth certificate changing

  gender. As I asked at the outset of this partial dissent, which sex is discriminated against?

  Bostock cannot help Plaintiffs here, because it did not address a generally applicable law

  and resolving the Title VII claim in that case did not call for an answer to that question.

         The sex-discrimination issue in this case is a difficult one. But I must respectfully

  dissent. Perhaps one day we will get clarification from the Supreme Court.




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